                           UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF TENNESSEE — COLUMBIA DIVISION


    KAREN MCNEIL,                                Case No. 1:18-cv-00033

    LESLEY JOHNSON,                              Judge Campbell

    TANYA MITCHELL (through her Estate),         Magistrate Judge Frensley

    INDYA HILFORT,

    LUCINDA BRANDON,

    and VICTOR GRAY,                             THIRD 1 AMENDED COMPLAINT—
                                                 CLASS ACTION
    On behalf of themselves and all others
    similarly situated,                          JURY DEMAND

                      Plaintiffs,

           v.

    COMMUNITY PROBATION SERVICES,
    LLC;

    COMMUNITY PROBATION SERVICES,
    L.L.C.;

    COMMUNITY PROBATION SERVICES;

    PROGRESSIVE SENTENCING, INC.;

    PSI-PROBATION II, LLC;

    PSI-PROBATION, L.L.C.;

    TENNESSEE CORRECTIONAL
    SERVICES, LLC;

    TIMOTHY COOK;

    GILES COUNTY, TENNESSEE;

    PATRICIA MCNAIR;

    MARKEYTA BLEDSOE;

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  Plaintiffs previously submitted a proposed Third Amended Complaint to address Defendants’
concerns about the capacity in which they had been sued. Dkt. No. 298. The Court denied that
Motion as moot because that issue was pending appeal in the Sixth Circuit. Dkt. No. 314. Thus,
that Complaint never became operative.



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KYLE HELTON,

               Defendants.




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I.       INTRODUCTION 2

         1.       This class action lawsuit challenges systemic constitutional and statutory violations

and an illegal extortion scheme in Giles County, Tennessee, which has allowed two for-profit

companies—Community Probation Services, LLC and PSI Probation, LLC—to transform the

County’s misdemeanor probation system into a machine for generating their own profit on the

backs of Giles County’s most impoverished residents. 3 The named plaintiffs and the members of

the putative plaintiff classes (collectively “Plaintiffs”) in this case live in poverty and were

assigned to supervised probation with one of the Defendant companies. They are victims of the

Defendants’ conspiracy to extract as much money as possible from impoverished misdemeanor

probationers through a pattern of illegal racketeering activity, including threats of arrest and

jailing, physical confinement, and extended periods of supervised probation due to nonpayment of

debts owed to the court and to the private companies.

         2.       The goal of CPS and PSI (collectively, the “private companies” or the “companies”)

is to maximize their own profits by acting as probation officers for the purpose of collecting fines,




2
  The facts alleged in the Third Amended Complaint reflect the facts known to Plaintiffs on information and belief at
the time the First Amended Complaint was filed on July 13, 2018. Since that Complaint was filed, named Plaintiff
Tanya Mitchell’s supervised probation was terminated. Named Plaintiff Indya Hilfort moved for and was granted a
Temporary Restraining Order on Count 15, Dkt. Nos. 42, 45, 50. Ms. Hilfort also moved for and was granted classwide
preliminary injunctive relief on Count 15. Dkt. Nos. 51, 52, 224, 225. On Sept. 14, 2020, Ms. Mitchell sadly passed
away, and her estate was substituted to continue the claims for damages that survive her death, Dkt. No. 432. In
addition, this Court and the Sixth Circuit have issued rulings related to Plaintiffs’ claims. This Complaint has been
updated to reflect the remaining parties and claims. See Dkt. Nos. 414-17. Plaintiffs’ injunctive claims, except for
Count 15, relate back to the date the Complaint was filed; Count 15 relates back to the date the First Amended
Complaint was filed. Plaintiffs are unaware at this time of other significant, material changes to facts alleged in the
First or Second Amended Complaint.
3
  As alleged herein, PSI Probation operates through at least one individual and four legal entities—including
Defendants Timothy Cook, Progressive Sentencing, Inc., Tennessee Correctional Service, LLC, PSI-Probation L.L.C.,
and PSI-Probation II, LLC—all of which are alter egos of each other for purposes of Tennessee law. CPS Probation
operates through at least three legal entities—including Defendants Community Probation Services, LLC, Community
Probation Services, L.L.C., and Community Probation Services—which are alter egos of each other for purposes of
Tennessee law.




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costs, fees, and litigation taxes 4 (these legal financial obligations will be referred to collectively as

“court debts”) owed to the court following convictions for minor misdemeanor offenses. Pursuant

to their respective contracts with the County (the “Contracts”), the companies add their own fees

and surcharges on top of those court debts and continue to supervise the collection of even greater

amounts of money from probationers who cannot afford to pay their debts. These fees and

surcharges—which probationers pay directly to the companies—are the companies’ only sources

of revenue under their Contracts.

         3.       The supervision the companies provide, however, consists almost exclusively of

continuous and repeated threats of jailing, humiliating abuses of power such as invasive drug

screens during which employees of the companies observe probationers urinating (and the

companies, in their discretion, then charge fees for each drug test that they decide to administer),

and repeated revocations and extensions of probation for not making payments that the companies

and their employees (“private probation officers” or “for-profit probation officers”; collectively,

the companies and their employees are referred to as “Private Defendants”) know the probationers

cannot afford. All of this occurs while the companies continue to impose additional monthly fees

and surcharges, and the probationers’ debts mount.

         4.       In addition to providing substantial revenue to the County, the contractual

arrangements give Giles County’s private probation officers, who should be neutral officers of the

court, a direct financial stake in every aspect of misdemeanor probation supervision. This financial

conflict of interest, baked into the companies’ contracts with the County and the companies’

written and unwritten policies, causes a cycle of debt; arrest and jailing for inability to pay that




4
 Tenn. Code Ann. § 67-4-602(a) (“There is levied a privilege tax on litigation instituted in this state, of twenty-nine
dollars and fifty cents ($29.50) on all criminal charges, upon conviction or by order.”).


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debt; additional fees for those arrests; repeated revocation and extension of supervised probation

for nonpayment; and crushing, inescapable poverty.

       5.      As a result of these extortionate enterprises, individuals who are supervised by the

companies, including the named plaintiffs, have lost homes, jobs, and personal belongings;

suffered severe medical problems, sold their blood plasma, and gone without food, clothing, and

medicine for themselves and their children; taken out high-interest loans and borrowed money

from friends and family members who are themselves struggling to afford the basic necessities of

life; and diverted public benefits—including social security disability checks, or whatever minimal

income they have—to instead pay the escalating supervision fees that the companies demand under

threat of arrest and jailing. These policies and practices have trapped Plaintiffs and hundreds of

people like them in Giles County in a web of fear and panic for years.

       6.      The companies’ user-funded model of probation—in which the probation officer’s

only sources of income and profit under the Contracts are the payments made by the impoverished

probationers the County assigns to them for probation supervision—violates the Constitution and

has no place in our legal system. This lawsuit seeks to recover damages from the alleged

wrongdoers here, disgorge their ill-gotten profits, and to end the practice of for-profit misdemeanor

probation in Giles County administered by private companies with financial incentives to place

and keep persons on probation.

II.    NATURE OF THE ACTION

       7.      Giles County contracted to give control of its misdemeanor probation system to two

private, for-profit companies—CPS and PSI—by entering into separate contracts with each

company. See Ex. 1 (contract between Giles County and CPS); Ex. 2 (contract between Giles

County and PSI).




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         8.       The Contracts provide for a user-funded model of probation, in which probationers

must pay—under threat of arrest, jailing, and repeated revocation and extension of their

probation—a variety of fees and surcharges to the company in addition to their court debts. The

Contracts specify that CPS and PSI must earn their revenue and profit solely and directly from

payments by the people they supervise.

         9.       CPS and PSI repeatedly threaten misdemeanor and traffic probationers with arrest

and physical confinement if they do not make payments. The Private Defendants tell probationers

that nonpayment will result in the company “violating” them—i.e., alleging to the court in a sworn

statement that the probationer has violated a condition of probation and asking the court to issue

an arrest warrant or a citation warrant.

         10.      The Private Defendants further tell probationers that “violations” for nonpayment

will result in extended periods of “pay-only” probation, 5 during which periods 6 probationers

accrue more fees owed to the companies, including monthly supervision fees and discretionary

drug testing fees, and that non-compliance with other conditions of probation—and sometimes

nonpayment—will result in jail time in addition to revocation and extension of pay-only probation.




5
  “Pay-only probation” refers to a period of supervised probation during which the person is supervised only because
she has not paid all of the court debt. Pay-only probation ends only when a person has paid court debts in full. See
Human Rights Watch, Profiting From Probation: America’s ‘Offender Funded’ Probation Industry (2015),
available at https://www.hrw.org/report/2014/02/05/profiting-probation/americas-offender-funded-probation-
industry (“Pay only probation is an extremely muscular form of debt collection masquerading as probation
supervision, with all costs billed to the debtor.”); Sarah Stillman, Get Out of Jail, Inc., New Yorker (June 23, 2014),
available at https://www.newyorker.com/magazine/2014/06/23/get-out-of-jail-inc.
6
  Terms of probation in Giles County are usually the maximum allowable under Tennessee law: 11 months and 29
days, referred to locally as “11/29.” The most common sentence includes jail time of 11 months and 29 days,
suspended for 11 months and 29 days. When Defendants revoke and extend a person’s probation, they typically
require the person to also serve some amount of their jail sentence, and then extend the probationary period for an
additional 11/29. Therefore, following revocation and extension, the possibility of extensive jail time, albeit shortened
by the amount of time the person served for the violation, looms for the probationer who cannot pay or violates any
of the company’s other rules or conditions.




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          11.    In fact—and Defendants never disclose this to Plaintiffs—under federal and

Tennessee law, only willful nonpayment can constitute a violation of probation. 7 As a matter of

policy and practice, the companies train their employees not to inform probationers of this law and

their basic rights. Defendants routinely threaten to seek violation-of-probation warrants for

probationers who are too poor to make a payment, or whose payments fall short of what the

probation officer demanded, without verifying that the nonpayment was willful.

          12.    A person may be assigned to supervised misdemeanor probation by either the

General Sessions Court or the Circuit Court in Giles County. The General Sessions Court issues

citation warrants when the allegation is solely nonpayment. These warrants do not authorize

arrests. The Circuit Court, however, issues arrest warrants solely for nonpayment. Those warrants

authorize arrest and typically state that a secured money bail amount is required for release after

arrest.

          13.    Although the citation warrants that probation officers seek alleging solely non-

payment for General-Sessions probationers do not authorize arrest, most probationers do not know

that and believe—based on the threats of the Private Defendants—that if they do not to pay the

company, they will be arrested and taken to jail.

          14.    Moreover, warrants for multiple alleged violations including nonpayment do

authorize arrest.     Such warrants typically have either a pre-set money bond in an amount

determined without individualized consideration of the arrestee’s ability to pay, or a requirement




7
  See, e.g., Tenn. Code Ann. § 40-35-303(i)(3) (2017) (nonpayment of supervision fees must be willful to be grounds
for probation revocation); Rodriguez v. Providence Cmty. Corr., Inc., 155 F. Supp. 3d 758, 770 n.13 (M.D. Tenn.
2015), appeal dismissed (Mar. 15, 2016) (“Defendants’ probation scheme is the functional equivalent of what Bearden
prohibits: probation revocation due to nonpayment without an indigency inquiry.”); Tenn. Code Ann. § 40-24-105(a)
(2017) (nonpayment of court fines must be willful to be grounds for criminal contempt); State v. Dye, 715 S.W.2d 36,
41 (Tenn. 1986) (reversing revocation of probation because lower court did not determine that nonpayment of
restitution was willful).


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to “hold” the arrestee in jail until her probation-revocation hearing, which does not take place until

up to ten days after arrest.

        15.     The Contracts give the companies enormous discretion, including authorizing them

to notify the court of alleged non-compliance with conditions of probation, seek and prepare

probation revocation warrants, act as the main witness and present evidence at revocation

proceedings, confer with judges and prosecutors on bond amounts for violation-of-probation

warrants and whether a person arrested for an alleged violation of probation should be detained

until the revocation hearing, and recommend sentences and sanctions. The Contracts give the

companies discretion to determine how much a probationer must pay on each reporting day, how

frequently the probationer must report, and (in the case of CPS) how much of each payment the

company will keep for itself before paying the court. All of these discretionary decisions are

communicated by the Private Defendants under threat of arrest for noncompliance.

        16.     The Contracts permit CPS and PSI to petition for revocation of probation solely for

nonpayment, and to seek the arrest and jailing of probationers and petition for extension of

probation for people who have not paid all of the accumulated fees and costs, but have already

paid enough money to cover the entirety of their original court debts.

        17.     In their efforts to generate greater revenue, the individual probation officer

defendants regularly make sworn statements of fact that they know are false and knowingly omit

material facts when seeking warrants solely for nonpayment of court costs and probation fees. As

a matter of policy and practice, the Private Defendants consistently omit critical facts—such as

that a person who did not make payments survives on disability income. They seek warrants that

are facially insufficient to justify a revocation of probation as a matter of law because the Private




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Defendants never allege that probationers willfully refused to pay, i.e., that they have refused to

pay even though they are able to do so.

       18.     Defendants know that the vast majority of CPS and PSI probationers are only on

supervised for-profit probation because they are indigent and cannot afford to pay their court debts

and probation fees in one lump sum. Nonetheless, they regularly participate in probation-

revocation hearings that result in the revocation and extension of supervised probation due solely

to nonpayment, without conducting an inquiry into the probationer’s ability to pay, and without

findings that the nonpayment was willful. Revocations for nonpayment typically result in an

extension of probation for another period of 11 months and 29 days, and result in saddling the

probationer with additional court debts and company fees and surcharges, continuing the cycle of

debt, arrest, for-profit probation supervision, jail, and more debt.

       19.     Each Contract creates an actor within the Giles County legal system that is

fundamentally incompatible with constitutional law: a probation officer who is supposed to be

neutral, but instead has a direct financial stake in every decision and outcome in every individual’s

probation case. This arrangement violates basic notions of due process, neutrality, and fairness.

       20.     Defendants’ extortion scheme constitutes a systematic violation of constitutional

rights calculated to generate significant profits every year for the companies and to provide

substantial revenue to the County.

       21.     The Plaintiffs seek declaratory, injunctive, compensatory, and punitive relief for

themselves and all others similarly situated.

       22.     The allegations in this case are materially indistinguishable from those in Rodriguez

v. Providence Community Corrections, Inc., 3:15-cv-01048 (M.D. Tenn. 2015), a class-action

lawsuit that raised identical constitutional claims against nearby Rutherford County, Tennessee




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and a now-defunct private probation company, PCC, Inc. 8 Soon after Rodriguez was filed, PCC,

Inc. ended its operations in Giles County, in Tennessee, and throughout the entire country. 9

         23.      When PCC, Inc. left Giles County, one of the Defendant probation companies in

this case—CPS—began operating in Giles County in its place. CPS moved into the old PCC, Inc.

offices, assumed the accounts for probationers whom PCC, Inc. had previously supervised, hired

PCC, Inc.’s former employees—including Defendant Patricia McNair—and implemented

identical debt-collection practices. PSI, which has been operating in Giles County for more than

four years, engages in materially the same extortionate and unconstitutional conduct.

         24.      Defendants’ policies and practices in this case are materially identical to those at

issue in Rodriguez, and a court in this District has already issued two detailed memorandum

opinions concluding that such policies and practices violate the United States Constitution. 10 Giles

County has been on notice that its private probation practices violate Tennessee law, federal

statutes, and the United States Constitution since at least July 5, 2016—when Giles County



8
 PCC, Inc. was also operating in Giles County at the time the company’s conduct in Rutherford County was
challenged by Plaintiffs in Rodriguez.
9
  The federal court recently granted Plaintiffs’ motion for preliminary approval of a settlement agreement, through
which PCC, Inc. agreed to pay $14 million and Rutherford County agreed to pay $300,000 to the people who were on
supervised probation. See Rodriguez v. Providence Cmty. Corr., Inc., Case 3:15-cv-01048, Dkt. 197, Order Granting
Second Unopposed Motion to Approve Notice of Class Action Settlement Agreement, Set Hearing Date, and
Authorize Notice to Class Members (Jan. 2, 2018). Rutherford County also agreed to make significant changes to its
probation system, including never again contracting with a for-profit, private probation company, waiving fees for
indigent probationers, and ending pay-only probation.
10
  See Rodriguez v. Providence Cmty. Corr., Inc., 191 F. Supp. 3d 758 (M.D. Tenn. 2015) (holding that it violates the
Equal Protection Clause to treat government debtors more harshly than debtors who owe debts to private companies;
holding that it violates the Equal Protection and Due Process Clauses to keep impoverished probationers on supervised
probation solely because of their inability to make monetary payments; holding that it violates the Fourth and
Fourteenth Amendments to arrest misdemeanor probationers solely for nonpayment; holding that it violates the Equal
Protection and Due Process Clauses to jail probationers solely because they cannot afford to pay secured money bail);
Rodriguez v. Providence Cmty. Corr., Inc., 155 F. Supp. 3d 758 (M.D. Tenn. 2015) (granting Plaintiffs’ motion for
preliminary injunction enjoining Rutherford County from detaining misdemeanor arrestees who cannot afford the
predetermined money bail amount required for release following an arrest for allegedly violating probation; holding
that it violates equal protection and due process to keep an impoverished misdemeanor probationer in jail after arrest
and prior to a probation-revocation hearing due to her inability to pay a pre-determined secured money bail amount).
Plaintiffs in this case raise many of the same federal constitutional claims that were litigated in Rodriguez.


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Executive, Janet Vanzant, received a letter summarizing the Rodriguez allegations and the two

federal court rulings, see Ex. 3.

       25.     Like Rodriguez, this civil rights action is brought under the United States

Constitution and Tennessee law to stop the Defendants from continuing to operate racketeering

enterprises that extort money from some of the most impoverished people in Giles County, and to

prevent the Defendants from continuing to misuse the probation system for profit.

       26.     Plaintiffs bring this civil rights action on behalf of themselves and all others

similarly situated seeking the vindication of their fundamental rights, compensation for the

violations that they suffered, punitive damages to punish the private probation company

Defendants and to deter all Defendants from similar misconduct in the future, and injunctive and

declaratory relief to protect them against future violations.

III.   JURISDICTION AND VENUE

       27.     This is a civil rights action arising under 42 U.S.C. § 1983 and 28 U.S.C. § 2201,

et seq., and the Fourth and Fourteenth Amendments to the United States Constitution. This Court

has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, and 1367(a) (over the state law claims

because they are so related to claims in the action within such original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution).

       28.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

IV.    THE PARTIES

       A.      Plaintiffs

       29.     Plaintiff Karen McNeil is 53 years old and lives in Giles County with a friend in a

mobile home outside of Pulaski. She has four adult children. Ms. McNeil was subjected to

supervised probation with Defendant CPS from March 2016 until October 2017. She was

previously supervised on probation by PCC, Inc. from November 2015 until March 2016. For the


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entire period of supervised probation with both CPS and PCC, Inc., Defendant McNair was the

probation officer to whom Ms. McNeil primarily reported.

         30.      Plaintiff Lesley Johnson is a 35-year-old single mother of two children who lives

in Mississippi. She previously lived in Baldwin County, Alabama, where she resided during the

period she was on CPS probation. Ms. Johnson was subjected to supervised probation with

Defendant CPS from February 2017 to August 2017. During her period of supervised probation

with CPS, Defendant McNair was the probation officer to whom Ms. Johnson primarily reported.

         31.      Plaintiff Tanya Mitchell 11 is 53 years old and lives in Giles County, in a mobile

home with her daughter, Plaintiff Indya Hilfort, and her four grandchildren (Ms. Hilfort’s

children). Ms. Mitchell has been subjected to supervised probation with Defendant PSI since

September 2017. For the entire period of supervised probation with PSI, Defendant Bledsoe has

been the probation officer to whom Ms. Mitchell reports.

         32.      Plaintiff Indya Hilfort is a 27-year-old single mother of four children under the age

of 10. She lives with them and her mother, Plaintiff Tanya Mitchell, in a mobile home in Giles

County. Ms. Hilfort has been subjected to supervised probation with Defendant CPS since

September 2017. She was previously supervised on probation by PCC, Inc. in 2015. For the entire

period of supervised probation with CPS, Defendant McNair is the probation officer to whom Ms.

Hilfort primarily reports.

         33.      Plaintiff Lucinda Brandon is a 31-year-old single mother of three children under

the age of 10 who lives in Lawrence County, adjacent to Giles County. Ms. Brandon was subjected

to supervised probation with Defendant PSI between September 2015 and May 2017. During her




11
   See n.2 (noting that Ms. Mitchell died in September 2020 but her estate has been substituted to continue the
litigation of her claims as previously alleged).


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period of supervised probation with PSI, Ms. Brandon reported primarily to Defendant Thompson.

She also reported to Defendant Bledsoe.

        34.     Plaintiff Victor Gray is 54 years old and lives in Lawrence County, Tennessee.

Mr. Gray has been subjected to supervised probation with Defendant PSI since November 2019.

For the entire period of supervised probation with PSI, Defendant Bledsoe has been the

probation officer to whom Mr. Gray primarily reported.

        B.      Defendants

        35.     Defendant Community Probation Services, LLC is a for-profit limited liability

corporation organized and registered to do business in Tennessee. Community Probation Services,

LLC is headquartered in Crossville, Tennessee, and has operated in the State of Tennessee since

2015 when it formed via conversion of Defendant Community Probation Services.

        36.     Defendant Community Probation Services is a for-profit general partnership

organized in Tennessee on January 1, 2014, and headquartered in Crossville. On October 15,

2015, Community Probation Services filed a Certificate of Conversion with the Tennessee

Secretary of State, converting itself into Defendant Community Probation Services, LLC.

        37.     Defendant Community Probation Services, L.L.C. was a for-profit limited liability

corporation organized and registered to do business in Tennessee. 12 Community Probation

Services, L.L.C. was headquartered in Crossville, Tennessee. The company was known as “PSI-

Probation, L.L.C.” until it changed its name to Community Probation Services, L.L.C. effective

January 1, 2008. Community Probation Services, L.L.C. was terminated on April 25, 2014.

        38.     Defendants Community Probation Services, LLC, Community Probation Services,

and Community Probation Services, L.L.C. are collectively referred to herein as “CPS.”


12
  “Community Probation Services, LLC” and “Community Probation Services L.L.C.” are distinct entities. The use
or absence of periods in “LLC” are intentional throughout the complaint.


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        39.    Defendant Progressive Sentencing, Inc. is a for-profit corporation incorporated and

registered to do business in Tennessee.       Progressive Sentencing, Inc. is headquartered in

Cookeville and has operated in the State of Tennessee since 1991.

        40.    Defendant PSI-Probation, L.L.C. was a for-profit limited liability corporation

organized and registered to do business in Tennessee. PSI-Probation, L.L.C. was headquartered

in Cookeville and has operated in the State of Tennessee since 1999. Effective January 1, 2008,

PSI-Probation, L.L.C. changed its name to “Community Probation Services, L.L.C.” Community

Probation Services, L.L.C. was terminated on April 25, 2014.

        41.    Defendant PSI-Probation II, LLC was a for-profit limited liability corporation

organized and registered to do business in Tennessee. PSI-Probation II, LLC was headquartered

in Cookeville, and operated in the State of Tennessee since 2005. PSI-Probation II, LLC was

administratively dissolved on August 6. 2017.

        42.    Defendant Tennessee Correctional Services, LLC is a for-profit limited liability

corporation organized and registered to do business in Tennessee. Tennessee Correctional

Services, LLC is headquartered in Cookeville, and has operated in the State of Tennessee since

2002.

        43.    Defendant Timothy Cook is a citizen and resident of Cookeville, Tennessee.

Defendant Cook is or was the owner, member, organizer, partner, and/or president of Defendants

Progressive Sentencing, Inc., PSI-Probation, L.L.C., PSI-Probation II, LLC, and Tennessee

Correctional Services, LLC.

        44.    Defendants Progressive Sentencing, Inc., PSI-Probation, L.L.C., PSI-Probation II,

LLC, and Tennessee Correctional Services, LLC are collectively referred to herein as “PSI,” the

name that local probationers and court staff use to refer to the company in Giles.




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        45.     Both CPS and PSI generate their income from supervision fees and surcharges that

Defendants require misdemeanor probationers to pay to the companies, pursuant to contracts

signed by the Giles County Executive on behalf of the County. See Exs. 2, 3.

        46.     Pursuant to the Contracts, the County pays nothing for the companies’ services.

Ex. 1 at 4; Ex. 2 at 3.

        47.     Instead, the Contracts require the County to refer misdemeanor probation

supervision to the companies, which provide probation supervision services at no charge to the

County, extracting their revenue exclusively through various fees charged to probationers. Ex. 1

at 4, Ex. 2 at 3.

        48.     Defendant Giles County is a local government entity organized under the laws of

the State of Tennessee. Its officials are responsible for, among other things, operating the County

jail, prosecuting misdemeanor and traffic offenses, providing for a lawful probation supervision

system, and supplying adequate indigent defense services.

        49.     Defendant Patricia McNair is a probation officer employed by CPS. Defendant

McNair supervises Named Plaintiff Indya Hilfort. She previously supervised Named Plaintiffs

Karen McNeil and Lesley Johnson. She is sued in her personal and official capacities.

        50.     Defendant Markeyta Bledsoe is a probation officer employed by PSI.             She

supervises Named Plaintiff Victor Gray. She previously supervised Named Plaintiff Lucinda

Brandon and Named Plaintiff Tanya Mitchell. She is sued in her personal and official capacities.

        51.     Harriet Thompson was a probation officer employed by PSI. She previously

supervised Named Plaintiff Lucinda Brandon. 13



13
   The only claims brought against Harriet Thompson, Counts 3 and 21 for damages, have now
either been dismissed by the Court or voluntarily dismissed by Plaintiffs. Mem. Op. at 41 (Dkt.
No. 416).


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        52.     Defendants McNair, Thompson, and Bledsoe have used their discretion as

probation officers to determine how frequently probationers have to report, the means by which

probationers must report (e.g., in person or by phone), whether and when to seek an arrest warrant

based on a purported violation of probation and on what basis or bases, what disposition to

recommend to the court following a revocation proceeding, how frequently to subject probationers

to drug tests, and every other discretionary probationary decision discussed in this Complaint.

Defendant McNair uses her discretion as a CPS probation officer to allocate payments from

probationers to pay the company first and court debts second and whether and when to convert

individuals’ probation from supervised to unsupervised.

        53.     Defendants CPS, PSI, McNair, Thompson, and Bledsoe perform a traditional

government function and were acting under color of state law at all times relevant to this case.

        54.     Defendants McNair, Thompson, and Bledsoe acted as agents of their employers at

all times relevant to this case.

        C.      Alter Ego Allegations

                1.      CPS Defendants

        55.     Defendants Community Probation Services, LLC, Community Probation Services,

L.L.C., and Community Probation Services constitute alter egos of each other. These Defendant

entities have been used in contravention of public policy—namely contracting with the County to

allow non-neutral, financially-interested companies to serve a traditional government function,

which Defendants abused to extort payments of court fines, costs, and various fees from Plaintiffs

and proposed Class Members using, inter alia imprisonment and threats of imprisonment in

violation of Tennessee and federal law. These Defendant entities also use the same office or

business location, employ the same employees, and do not maintain arms-length relationships.

Unless otherwise specified, all references to “CPS” herein refer to all current and former legal


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entities through which CPS operates and has operated in the State of Tennessee during the Class

periods.

               2.     PSI Defendants

       56.     Defendants Progressive Sentencing, Inc., PSI-Probation L.L.C., PSI-Probation II,

LLC, and Tennessee Correctional Services, LLC constitute alter egos of each other. These

Defendant entities have been used in contravention of public policy—namely contracting with the

County to allow non-neutral, financially-interested companies to serve a traditional government

function, which Defendants abused to extort payments of court fines, costs, and various fees from

Plaintiffs and proposed Class Members using, inter alia imprisonment and threats of imprisonment

in violation of Tennessee and federal law. These Defendant entities also use the same office or

business location, employ the same employees, and do not maintain arms-length relationships.

Unless otherwise specified, all references to “PSI” herein refer to all current and former legal

entities through which PSI operates and has operated in the State of Tennessee during the Class

periods.

V.     DEFENDANTS’ CONSPIRACY TO OPERATE AN UNCONSTITUTIONAL FOR-
       PROFIT PROBATION SYSTEM BY EXTORTION

       57.     Giles County and the Private Defendants, operating pursuant to the Contracts

between the companies and the County, conspired to use the County’s probation system to collect

court debts owed to the County by misdemeanor offenders, as well as to collect fees owed solely

to the private companies, using unlawful extortion, threats of arrest and jailing, physical

confinement, and improper and fraudulent legal process.

       58.     By establishing a purely user-funded probation system, Defendants created

financial incentives for the companies to use their access and perceived access to the County’s

courts, law enforcement officers, and jail to engage in extortionate and unconstitutional policies



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and practices, described in detail below. All Defendants, including County officials, are aware of

and complicit in each of these policies and practices.

       59.     Pursuant to the County’s contracts with the companies, for-profit supervised

probation thus serves almost exclusively as a mechanism for collecting post-judgment court debts

from individuals who are poor, and as a mechanism to generate and extort additional income for

the companies through coercive and unlawful means not available to any private creditor under

state or federal law. These policies and practices devastate the lives of hundreds of misdemeanor

probationers in Giles County every year, and have done so for more than a decade.

       60.     Probation need not be a cash-collection tool. For example, Defendants have at their

disposal the option to convert misdemeanor court and probation debts into civil judgments, which

would allow the County to collect debts while observing constitutional and statutory safeguards.

       61.     Defendants know these options exist: they occasionally terminate the probation of

a person who has been on pay-only supervised probation for several years and permit the person’s

debts to be treated as civil judgments in accordance with Tennessee law. However, Defendants

rarely use this option, choosing instead, as a matter of policy, to use threats, arrest, jailing, and

endless cycles of supervised probation to extort payments from impoverished people.

       A.      The Contracts

               1.      CPS

       62.     CPS signed its contract with Giles County on March 16, 2016, after PCC, Inc.—

which operated in Giles for more than a decade until it was sued for materially the same policies

challenged in this Complaint—left the private probation business.

       63.     After PCC, Inc. left Giles, CPS moved into the former PCC, Inc. offices, began

supervising PCC, Inc.’s former probationers, and hired PCC, Inc.’s former employees, including

defendant Patricia McNair.


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       64.     The Contract between CPS and Giles County empowers the company to determine

how much money a probationer must pay in supervision fees, surcharges, and court costs and on

what dates in order to avoid a violation-of-probation arrest warrant or citation warrant being issued.

       65.     The Contract requires the company to collect court debts and fees generated for the

company and to decide how much of the money collected should be remitted to the court, and how

much should be used to pay itself. Ex. 1.

       66.     CPS is also required by the Contract to prepare arrest warrants for violations of

probation, confer with the judge and prosecutor about cases, provide testimony and evidence at

revocation hearings, and decide whether and when to report non-compliance to the Court.

               2.      PSI

       67.     PSI has been providing private probation services in Giles County since at least

December 14, 2011, when the County and PSI signed the operative Contract. See Ex. 2.

       68.     The Contract gives PSI the power to monitor, collect, and levy its own additional

payments, enforce compliance with conditions, report non-compliance (including through sworn

affidavits for arrest warrants and citation warrants), and confer privately with the prosecutor and

judges on cases.

       69.     In exchange, the County agreed to assign cases to private for-profit supervised

probation with PSI.

       B.      The Companies’ Practices Are Materially Indistinguishable

       70.     The companies operate in the same way in all material respects. The only apparent

difference is that probationers with PSI make payments on their court debt directly to the court

and pay only their probation fees to the company, while probationers with CPS typically pay their

court debts to the company in addition to the probation fees. CPS then remits some portion of

those payments to the court.


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       71.     In pursuit of generating revenue for themselves and the County, all of the Private

Defendants decide how much money a probationer owes to them each week to avoid violating

their probation and how frequently the probationer must report and make payments; both

companies monitor probationers’ payments of court debts and probation fees, and both companies

consider mere nonpayment of either court debts or probation fees to be a violation of probation

that justifies revocation; both companies engage in a pattern and practice of threatening indigent

probationers with arrest, jailing, and extension of supervised probation if they do not pay probation

fees or court debts, refuse to submit to costly and invasive drug tests at the discretion of the

companies, or do not comply with any of the companies’ other vague and onerous conditions; and

both companies file sworn affidavits with the court seeking warrants, informing the court that the

person did not make payments as required, without first determining that the person willfully

refused to pay, and even when they know the person did not pay only because she was too poor to

pay.

       C.      The System of Private Probation in Giles County

               1.      The Process for Assigning Misdemeanor Offenders to Private
                       Probation

       72.     In Giles County, misdemeanor and traffic cases are typically handled in General

Sessions Court. A person may plead guilty to a misdemeanor offense in the Circuit Court if the

charge was originally filed as a felony.




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        73.      Individuals sentenced to probation are assessed a variety of fines (as punishment

for the offense) and fees (which are used to pay for municipal services), court costs, and litigation

taxes 14 without regard for the person’s ability to pay. 15

        74.      A misdemeanor defendant is never told at the time of pleading guilty how much he

or she will owe. During one recent docket, a person who was pleading guilty asked the judge,

“What are my costs and fines?” The judge responded, “I don’t know.”

        75.      A misdemeanor defendant is typically sentenced to either 11 months and 29 days

in jail suspended for 11 months and 29 days of probation, or to six months in jail, suspended for

six months of probation. Sometimes the sentence includes several days or a month in jail in

addition to the suspended sentence and probation.

        76.      As a matter of policy, every person convicted of a misdemeanor offense in General

Sessions Court is required to pay at least $25 every week toward their court debts as a condition

of probation, regardless of ability to pay. People convicted of misdemeanors in Circuit Court are

required to pay at least $50 every month.

        77.      In every General Sessions case, a pre-printed “Order” is entered at the sentencing

hearing, purporting to find that every single misdemeanor probationer “stated in open court that

he/she is financially capable of paying $25 per week.” But, the statements are coerced since people

charged with misdemeanor offenses believe that they must agree to make payments, or else they

risk being sentenced to jail instead of probation.

        78.      Many misdemeanor defendants who state on the record that they are able to pay

$25 each week are extremely poor. Many of them survive only on social security disability


14
  Restitution—which is a payment made to a victim of an offense in compensation for the harm caused—is also
sometimes required.
15
  Under Tennessee law, court debt may be collected in the same manner as a civil judgment. See Tenn. Code Ann.
§ 40-24-105(a).


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payments or other means-tested government benefits, and struggle to meet the basic necessities of

life. They cannot in fact make the weekly payments without foregoing basic necessities or falling

even deeper into debt.

       79.     Everyone involved in the process of assessing and collecting court debts, including

the County and the Private Defendants, knows that the “Orders” purporting to find every person

charged with a misdemeanor financially able to pay $25 per week are based, in many cases, on

coerced statements: Defendants possess information about the probationers’ finances, and are

present in the courtroom when fees are assessed and the purported colloquy occurs, and many

probationers were found indigent for purposes of appointing counsel.

       80.     In some rare cases, a person will ask for a lower weekly payment during sentencing,

but these requests are routinely denied.

       81.     The sole General Sessions judge routinely threatens people he sentences to

probation that if they do not pay, their probation could be revoked and extended, saying words to

the effect of, “I don’t want to see you back here on a violation, much less a violation for

nonpayment.”

       82.     In many cases, people owe so much money that they will be unable to pay it all off

at a rate of $25 per week within the probation period.

       83.     Under Tennessee law, community service can be an alternative to a requirement to

pay court costs. The County could suspend court debts upon the successful completion of

community service, but community service is typically not affirmatively offered to impoverished

probationers as an alternative to payment.




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       84.     Additional rehabilitative conditions of probation are rarely required. But when

people are required to complete such classes as a condition of probation, the probationers must

travel to and pay for them.

       85.     Pursuant to the companies’ contracts with the County, any misdemeanor offender

who is sentenced to probation must be assigned to be supervised by either CPS or PSI.

       86.     According to policy and practice, and by agreement or acquiescence of all

Defendants, assignments to supervised probation alternate between each company so that each

company is assigned approximately the same number of new probationers.

       87.     In many cases, people are sentenced to a minimum period of supervised probation,

during which time the person must report to the company, submit to drug tests any and every time

the company decides to conduct them, and make regular payments of court costs and probation

fees under threat of arrest and revocation. After the minimum period of supervision, the probation

can be converted to unsupervised if all court costs and probation fees have been paid.

       88.     In some cases, there is no required minimum period of supervised probation, and

probationers are informed that they will be “supervised until paid in full.” People who can afford

to pay in full are permitted to pay their court costs at their first probation meeting, along with a

$45 probation fee for the single visit, and then, if the person was assigned to CPS, the company

will notify the court to convert the person’s supervised probation to unsupervised probation. If the

person was assigned to PSI, the Court Clerk’s office is responsible for closing the probationer’s

account.

       89.     Those who are sentenced to “supervised probation until paid in full” and cannot

afford the full court debt must continuously report to the Private Defendants, submit to invasive

drug tests, and pay supervision fees to the companies. They face arrest warrants, revocation,




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additional fees, and extension of their for-profit supervised probation, and thus additional

supervision fees, if they have not paid all of their court costs and probation fees by the end of their

probationary period.

               2.      Conditions of Probation

       90.     Upon assignment to supervised probation, probationers are required to have an

initial meeting with a CPS or PSI representative present in the courtroom.

       91.     In General Sessions Court, Defendants Bledsoe and McNair sit at desks to the right

of the judge’s bench while the court is in session. On their desks are stacks of documents entitled

“Misdemeanor Sentence.” These forms are pre-signed by the General Sessions judge. On the day

of conviction, the probation officer will check off applicable conditions of probation, including the

amount of money the person must pay each week in court costs, and the amount she must pay each

month as a supervision fee to the company, and any “special conditions,” such as classes provided

by third party contractors who charge a fee.

       92.     If a probationer cannot afford to pay the fee required for the class, then she cannot

take the class. If a person does not take the class, she cannot satisfy the conditions of her probation,

and her probation will be revoked and extended. As a matter of policy, the County and the

companies do not provide any mechanism for waiving the fee.

       93.     The forms also indicate how frequently the probationer must report, and whether

she must report in person or by phone. One of the individual Defendant probation officers fills

out the portion of the forms relating to the probationer’s reporting requirements at her own

discretion.

       94.     Probationers are also required by Defendants McNair and Bledsoe, and previously

by Defendant Thompson, to sign a company-specific, standard document agreeing to abide by

general “Rules” of probation.


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        95.      A set of these Rules were designed by each company and agreed to by the County.

        96.      CPS requires probationers to agree to each of the following conditions on penalty

of arrest and revocation of probation for failure to obey:

                 a.       To pay all court debts and probation fees.

                 b.       To “[p]ay probation fees, and drug screen fee as instructed”;

                 c.       To submit to random drug tests and pay for them;

                 d.       To “make a full and truthful report to my probation officer . . . as directed

by the officer . . .”;

                 e.       To avoid consuming any “intoxicants”; and

                 f.       To notify the private probation company “BEFORE changing my address

or employment.”

        97.      The document distributed to people assigned to CPS supervision listing the Rules

is entitled “Probation Order,” which gives it the imprimatur of the court. However, it is signed

only by the private probation officer and the probationer. It states that “[v]iolation of any of the

terms of Probation may be sufficient cause for revocation of Probation.”

        98.      PSI’s rules are similar. They require probationers to agree to abide by each of the

following conditions on penalty of arrest and revocation of probation for failure to obey:

                 a.       To pay probation fees “in a timely manner”;

                 b.       To submit to random drug tests “as required by the probation officer” and

to pay for those tests;

                 c.       To permit any for-profit probation officer and any law enforcement officer

to search their bodies, homes, cars, and personal belongings at any time, in any place, and without

a search warrant;




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               d.      To “not keep late or unusual hours”;

               e.      To “not associate with any person who is known to be involved in criminal

activity”;

               f.      To not leave the State of Tennessee without the for-profit probation officer’s

permission;

               g.      To “not use any alcoholic beverage to the point that you may be arrested or

charged with a criminal offense”; and

               h.      To notify the private probation company “before changing address or

employment.”

        99.    The County and the companies require probationers to agree to submit to and pay

for suspicionless drug tests at any time, even when their underlying charge has nothing to do with

drugs or alcohol, and even when the person has no history of substance abuse. Refusing to take a

drug test constitutes a violation of probation.

        100.   The companies charge for the drug tests, and the cost gets added to the probationer’s

debts to the company. The company charges orders of magnitude more for each portable drug test

than the company spends, making drug testing one of the most profitable aspects of the companies’

business.

        101.   Although CPS writes in its rules that it charges $45 every six months for drug tests,

many probationers are charged for every single drug test, which occur much more frequently than

once every six months. The cost of each drug test varies. Probation officers typically charge $35

or $45 per test, but sometimes they will accept $20, and sometimes they will require the

probationer to pay as much as $90.




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       102.    PSI also exercises its discretion to charge varying amounts for drug tests, typically

ranging from $20 to $45. The company sometimes charges for every drug test, and other times

charges a lump sum for some period of time, regardless of the number of drug tests actually

conducted during that time period.

       103.    The companies use drug-testing kits, which they administer in the office, that

purport to provide immediate results without laboratory analysis.

       104.    If probationers wish to have the results of the in-office test verified by a lab, as a

matter of each company’s policy, the probationer must make another payment to the private

company, which sends the sample to a lab for the confirmatory test. In at least one case, CPS

charged a probationer $120 for the confirmatory testing.

       105.    The Private Defendants drug test probationers more frequently near the end of their

supervised probation periods because they can earn significantly more profit if there is a reason to

revoke and extend the person’s supervised probation: by increasing drug tests—and charging the

associated fees—just as someone’s probation is about to end, the companies make it more likely

that the person will violate a condition of probation by testing positive for drugs, refusing to submit

to the drug test, or being unable to pay for the drug test, and their probation will be revoked and

extended, resulting in more fees for the company.

       106.    If a probationer who is being supervised by PSI tests positive in a drug test for the

first time, then Defendant Bledsoe (and previously Defendant Thompson), in her discretion may

permit the probationer to pay for and participate in a 12-hour drug education class—which costs

$75—to avoid a violation-of-probation warrant. The amount is not waivable.




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       107.     If the person cannot afford to pay for the class, then she cannot take it, and

Defendant Bledsoe (and previously Defendant Thompson) will seek an arrest warrant for violation

of probation.

                3.     Reporting

       108.     Both companies run their Giles County probation operations out of offices located

within a block of the Giles County Courthouse in Pulaski.

       109.     CPS has one primary reporting day for adult probationers each week, and most CPS

supervised adult probationers are required to report to their probation officer on that day.

       110.     Probationers assigned to PSI report throughout the week, except Thursday, when

Defendant Bledsoe is in court for the misdemeanor docket.

       111.     The companies decide how frequently a person must report and whether they must

report in person or by phone. The companies typically require probationers to report every week,

every other week, or every month.

       112.     The probation officers routinely allow a person to report less frequently if she has

been making regular payments.

       113.     But if a probationer cannot make payments, or the probation officer decides in her

discretion that the payments are too small, the private probation officer routinely requires the

person to report more frequently.

       114.     The main purpose of each probation meeting is for probationers to make payments

to the probation officer.

       115.     Non-reporting is deemed to be a violation of probation, and the company employee,

in her discretion, can seek an arrest warrant, which she knows will have either a predetermined

secured monetary bail amount or an instruction to “hold” the arrestee, i.e., to detain the arrestee in

jail until her court date, or otherwise notify the court of non-reporting.


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       116.    Pursuant to policy and practice, during the meetings, the probationer reports the

amount she paid to the company that day, and is asked to report any contacts with law enforcement.

As a matter of policy, Defendants Bledsoe and McNair—and previously Defendant Thompson—

make no investigation or inquiry into the reasons that a person does not report and, when

probationers offer reasons, Defendants ignore them.

       117.    The supervision meetings typically last only five minutes, or sometimes ten if the

private probation officer decides to require a drug test.

       118.    For those who report to CPS by phone, the company’s written rules instruct

individuals to simply “LEAVE VOICE MAIL” that covers four things: (1) the probationer’s name;

(2) contact information and employment status; (3) whether the probationer has had contact with

law enforcement (if yes, then “when and where”); and (4) whether the probationer has sent in a

payment to CPS and if not, then when the person intends to pay. There is no option to speak with

a probation officer instead of leaving a message.

       119.    PSI tells probationers it supervises by phone that they must fax in a form every

week or every other week and must call at the same interval on Wednesdays or Fridays to speak

with an employee. The form requires the probationer to state her name, address, place of

employment (if employed), and whether she has been arrested or “questioned” by police since her

last reporting date. The form also requires the probationer to state when she will pay the court and

how much, and to state when she will pay PSI the supervision fee. The probationer must state

whether she is “familiar with all conditions/rules of my probation” and attest as to whether “except

where noted above, and [sic] have fully obeyed them.”




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               4.      Defendants Threaten Probationers with Arrest and Jailing for
                       Nonpayment

       120.    The for-profit probation officers tell the probationers they supervise that they must

make regular payments of probation fees and surcharges to the company supervising them and

must also make regular payments on their court costs.

       121.    If the probationer is behind on her payments, the probation officer will threaten her

with arrest, jailing, revocation, and/or extension of supervised probation, telling her that she will

be “violated” if she does not bring enough money the next time, or the probation officer may

inform the probationer that a citation warrant or an arrest warrant has already been issued or will

be issued for nonpayment.

       122.    As a matter of policy and practice, the Private Defendants tell probationers that, if

they violate their probation, they could be sent to jail for the entire suspended sentence of 11/29

following even a first or second violation.

       123.    Sometimes, the probation officer’s threats are subtler or implicit. Defendants

Bledsoe and McNair, and previously Defendant Thompson, sometimes inform probationers simply

that they “must pay” a certain amount of money at their next meeting, or they inform them of the

total amount due before the end of the 11/29 term of probation, meaning that if the probationers

do not pay the amount required, they will be arrested and their probation will be revoked and

extended.

       124.    The private probation officers have discretion to seek warrants for nonpayment

when a person does not pay whatever amount the probation officer demands.                 They tell

probationers that they will be “violated” if they do not pay.




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           125.     The Private Defendants often tell probationers that they will extend the

probationers’ probation to allow more time to pay, instead of requiring the probationer to serve

her entire suspended sentence in jail.

           126.     Probationers must also pay for the drug tests the companies require them to submit

to, and the company employee can require probationers to be tested for drugs any and every time

they report.

           127.     Under federal and Tennessee law, only willful nonpayment can constitute a

violation of probation. 16 As a matter of policy and practice, the companies train their employees

not to inform probationers of this law and their basic rights. Defendants routinely threaten to seek

violation-of-probation warrants for probationers who are too poor to make a payment, or whose

payments fall short of what the probation officer demanded, without verifying that the nonpayment

was willful.

           128.     The Private Defendants know that the probationers they supervise are impoverished

because the companies require probationers to state their source of income on company intake

forms. Many probationers report that they are unemployed, have no income, rely on friends or

family for housing and financial support, or have income only from public benefits such as

unemployment, veteran’s benefits, disability, or food stamps.

           129.     Many probationers divert their food stamps and disability checks to pay their court

debts and probation fees. Many miss rent payments and go without heat or electricity for their

homes, gas for their cars, and food for themselves and their families in order to pay their court

debts and probation fees.




16
     See supra note 5.


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               5.     Defendants Refuse to Waive Fees and Costs

                      a.      CPS waiver process

       130.    The CPS Probation Rules state, “Please DO NOT ask the Probation Officer to

change the amount of your payments or the date the Judge ordered you to pay your cost by, because

only the Judge can make those type of changes.”

       131.    Notwithstanding this written admonition, CPS does have a “Supervision Fee

Exemption Form” that probationers can complete—although the company, as a matter of policy

and practice, never affirmatively offers the form. Sometimes, Defendant McNair, at her discretion,

provides the form when a probationer specifically asks for it. Other times, Defendant McNair or

another CPS employee tells the probationer that no such form exists, or that the company has no

power to waive costs and fees.

       132.    The form requires the probationer to provide amounts paid per month toward

various “Bills.” The form asks for the probationer’s income per month, but not whether the

probationer receives government benefits, is employed, unable to work, or whether she must

support children or other family members.

       133.    The form also asks for the probationer’s spouse’s income, as well as “Other Forms

of Income (boyfriend, girlfriend, child support, food stamps, etc…).” The form then requires that

these sources of income be added together to reach a “Total Average Income Per Month” from

which the probationer’s “Total Average Bills Per Month” will be deducted to determine the

“Average Balance Left Per Month.”

       134.    Although they are under no legal obligation to do so, in practice, friends and family

of probationers, who are often themselves living in poverty, frequently contribute whatever money

they have to help pay the companies so that the probationer can avoid being arrested and jailed for

not paying. The “fee exemption” form allows an individual probation officer to recommend


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various outcomes to the “Probation Manager,” including that the waiver be disapproved, that the

person’s fees be reduced, that some of the person’s fees be waived, or that the “balance owed” be

waived (presumably the person would incur additional probation fees going forward).

       135.     Over the course of an 18-month investigation, including interviews with more than

one hundred people supervised by CPS, undersigned counsel has not encountered any CPS

probationer whose court debt or probation fees were reduced or waived by the company.

                       b.      PSI Waiver Process

       136.     PSI similarly fails and refuses, as a matter of policy, to inform probationers about

the option of seeking a fee waiver or reduction.

       137.     If a probationer who is being supervised by PSI requests a fee waiver or reduction

form, Defendant Bledsoe, and previously Defendant Thompson, sometimes provide, in her

discretion a lengthy, 10-page “Application for Indigency.”

       138.     The form requires that the probationers provide detailed information about their

income and assets, and the income and assets of any other members of their household, and that

the probationer provide various documents including an identity card, proof of housing costs, proof

of immigration status (“not required if you were born in the US”), and proof of earned income.

The Application further requests proof of “Unearned Income,” such as award letters showing proof

of social security, veteran’s, unemployment, or retirement benefits. Probationers may also be

required to produce “proof of pregnancy and due date if someone in your household is pregnant.”

The company’s General Manager determines whether to waive fees.

       139.     The onerous documentation requirements function as a deterrent for probationers,

many of whom do not have stable housing or filing systems for the paperwork the company

demands.      Additionally, the time and expense (e.g. gas money) required for gathering the

documents can function as a further deterrent.


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       140.    The probationer then submits the form and supporting documentation to her

probation officer, who sends it to the PSI Headquarters in Cookeville for review. Defendant

Bledsoe, and previously Defendant Thompson, state that they have no authority to waive the fees

themselves.

       141.    It can take weeks or months for a waiver decision to be made. In the meantime, the

probationer is required to continue reporting and making payments.

       142.    Before any fees will be waived, the probationer must pay for and pass a drug screen

according to PSI policy.

                      c.      The County Refuses to Waive Costs and Fees

       143.    According to the clerk’s office, there is no mechanism to ask the General Sessions

judge to reduce or waive fees. One clerk explained, “Otherwise, everyone would do that.” Instead,

when someone gets to the end of their probation and has not paid everything they owe to the court

and the company, the person’s probation is extended, and additional costs are assessed against the

probationer.

       D.      The Process for Notifying the Court of Alleged Non-Compliance

       144.    The companies have a financial stake in using alleged rule violations to extract

more payments from probationers. They have an incentive to use the reporting and revocation

process to maximize their revenues.

       145.    They also have a financial stake in advising the judge to issue violation-of-

probation warrants and to revoke and extend the person’s probation.

       146.    The Private Defendants have the power to manufacture “probation violations” by

setting rules and then claiming that a probationer broke those rules, or by interpreting vague

standard rules and conditions in a way that generates a violation.




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       147.    The companies rely on the vagueness of the rules and conditions to threaten

probationers and create a culture of fear in which probationers believe that the company can find

a way to “violate” their probation whenever it wants if the company wants more money.

       148.    The companies use their control over the process of notifying the court of alleged

violations to overlook certain violations—i.e., a positive drug screen—if a person is making

payments to the company, and to threaten other people that, if they do not pay, the company will

use its discretion to petition the Court for revocation for a technical violation if they do not come

up with money.

       149.    Company employees are also authorized to recommend that the court issue an arrest

warrant with a secured financial condition on it or with a “hold” on it (requiring the Sheriff to

detain the arrestee prior to a probation-revocation hearing), or to request that the person be released

without an up-front payment prior to a revocation hearing.

               1.      When the Alleged Violation Is Solely Non-Payment

       150.    Probationers placed on PSI and CPS supervised probation are told from the moment

they are placed on probation that payment is a required condition of probation.

       151.    Probation orders for CPS explicitly state that “[f]ailure to pay court cost as

instructed at any time by the Probation Officer or the Court can result in a violation of probation.”

       152.    The private probation officers have discretion to violate a person for nonpayment

the first time she does not pay the amount the company demands, and to seek a citation or arrest

warrant.

       153.    They also have discretion to accept a partial payment of the amount required or

give the person time to come up with the money instead of seeking a warrant.




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       154.    The Private Defendants regularly threaten probationers in person that they will

inform the court of their nonpayment and ask the court to issue a warrant if the probationer does

not make a payment, or if the payment is not big enough.

       155.    The companies have a policy of not informing probationers that, under Tennessee

and federal law, their probation cannot be revoked unless nonpayment is willful.

       156.    Perversely, the Private Defendants view probationers who receive monthly public

benefits as a steady stream of income and frequently tell probationers that they will delay

“violating” those probationers until after their disability checks arrive, giving the probationers an

opportunity—by using money from their means-tested public benefits payments—to make a

payment to the company and avoid arrest. (Federal law prohibits the Defendants from explicitly

garnishing such federal benefits.)

       157.    Defendant private probation officers frequently tell probationers that revocation

and extension for another term of “user-funded” supervised probation is the common penalty for

nonpayment of court debt and probation fees.

       158.    To report a violation for nonpayment, the companies seek warrants from the courts.

       159.    General Sessions Court issues citation warrants which do not authorize arrest.

Instead of being arrested, the person will be told to report to court the following Thursday for the

misdemeanor violation-of-probation docket.

       160.    Circuit Court warrants for nonpayment authorize arrest, and employees of the Giles

County Sheriff’s Office routinely arrest and jail people who are alleged by the private companies

to have violated their probation solely by not making payments while on supervised probation out

of Circuit Court. These arrest warrants include a preset money bail amount, printed on the arrest

warrant.




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       161.    Company employees often seek arrest or citation warrants for nonpayment as a

means of coercing additional payments from probationers: probation officers inform probationers

that a warrant has issued, but tell the probationer that they will have the warrant recalled if the

probationer makes the payment in full.

       162.    When a probation officer asks the court to recall a warrant because a probationer

has paid whatever amount the company demanded, the court always recalls the warrant.

       163.    The Private Defendants have a pattern and practice of threatening to seek probation-

violation warrants based solely on nonpayment.

       164.    Defendants use the Circuit Court arrest warrants for nonpayment to “send a

message” to other probationers that they must pay or the same thing (arrest and jailing) will happen

to them.

       165.    When probationers are arrested—even just for nonpayment—their mugshots

typically appear in the local paper, Hard Times, which is sold at gas stations. Friends, family

members, neighbors, and coworkers of probationers often find out about arrests and probation

violations this way.

               2.      When the Alleged Violation is Non-Compliance with a Substantive
                       Condition of Probation

       166.    Arrest warrants for alleged violations other than nonpayment typically have a

monetary amount preprinted on them that must be paid before the probationer can be released

following arrest.

       167.    The companies and their employees know that arrest warrants for alleged violations

of probation are typically issued with a secured financial condition of release pre-printed on the

warrant and determined without an individualized inquiry into the arrestee’s ability to pay. The

companies and their employees also know that the County has a policy of detaining arrestees who



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cannot afford the money bail amount for up to ten days before bringing them to court for a

probation-revocation hearing and that, as a result, arrests for alleged violations of probation

routinely result in the person’s lengthy confinement before any opportunity to contest the for-profit

probation officer’s allegations of a violation of probation.

        168.    Because the vast majority of probationers are impoverished and struggle to pay for

basic necessities, many remain in jail following an arrest for an alleged violation of probation.

        169.    After a warrant issues, the Private Defendants routinely instruct probationers to

avoid the town of Pulaski—except for when they have to come to the probation office to make

payments—as a way of evading arrest by law enforcement officers. The companies also instruct

probationers, however, to continue to make payments on their probation fees. In this way, the

companies continue making money while the person waits to be arrested or prepares to surrender

to the jail.

        170.    When the alleged violation is anything other than nonpayment, probation officers

make sworn statements to the court alleging that a violation occurred and petitioning the Court to

issue an arrest warrant—which the court always does. These violation-of-probation arrest warrants

usually have monetary bail amounts on them. Sometimes they say “Hold,” meaning that the person

will be detained after arrest until she is taken to court.

        171.    If a probationer-arrestee is permitted to pay a monetary bail amount to secure

release and can afford it, she will be released and ordered to return to the court on a Tuesday for a

“first appearance.” If she cannot afford the bail amount, or if she is being detained, the probationer-

arrestee will be taken to court on a Thursday, typically within 10 days of her arrest. On Thursdays,

the General Sessions judge conducts violation-of-probation “hearings”: typically, the prosecutor




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confers with the public defender or with the probationer herself (if she elected to proceed pro se),

the parties complete plea paperwork, and the judge accepts the guilty plea.

       172.    As a result of these policies and practices, if a person is arrested on a Thursday

afternoon and she cannot afford to pay the money bail amount predetermined on her warrant, or if

she is ordered detained, she will be kept in jail until Thursday morning without access to a lawyer,

without an opportunity to seek less restrictive non-financial conditions of release, and without an

opportunity to contest the allegations made by the private company that has a financial stake in the

person’s arrest, detention, and revocation.


       173.    Probationers have good reason to fear detention in the Giles County Jail. The jail

is an abusive, dangerous, and unhealthy place. Guards have referred to women inmates as “dogs,”

and inmates routinely receive only two, nutritionally inadequate meals each day. The jail is so

overcrowded that people often sleep on the floor. At least one probationer was recently confined

with four other women to a jail cell meant for two.

       174.    Jail officials often withhold medication from inmates, even when the medicine is

prescribed and the inmate herself has provided the medication to the jail to dispense.

       E.      Revocation Proceedings

       175.    Probationers who are arrested for allegedly violating their probation and who were

unable to pay money bail to secure release are transported from the jail to the Giles County

courthouse in orange jumpsuits and shackles. Arrestees who were able to pay the money bail

required for release also appear on that docket.

       176.    In the General Sessions court, probationers who are in County custody are seated

in the courtroom behind a one-way panel that enables them to see the courtroom, while no one in

the courtroom can see them.



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       177.    Probationers accused of violating their probation will be given a few minutes to

consult with a public defender if they wish.

       178.    Often a person can get out of jail that day if she agrees to revocation and extension

of her supervised for-profit probation term.

       179.    The individual private probation officer defendants sit in the courtroom at tables

next to the judge during court proceedings, including probation-revocation proceedings.

       180.    The contracts explicitly permit the companies to confer with judges, court staff, and

the County prosecutors on individual cases.

       181.    Company employees engage in ex parte conversations about probationers with

judges and prosecutors before, during, and after revocation-of-probation hearings, including

recommending revocation, recommending a particular sentence, and offering evidence, which

routinely consists solely of the probation officer’s allegations.

       182.    The for-profit probation officers provide testimony and make recommendations

about the appropriate disposition of a revocation hearing, including urging the judge to sentence

the person to jail and extend the person’s term of for-profit supervised probation.

       183.    The companies’ allegations are routinely the only basis provided to support

revocation.

       184.    During revocation proceedings, company employees routinely withhold the true

reasons for the violations the company has alleged. In particular, they routinely withhold relevant

material information and evidence concerning ability to pay. For example, as they do with

applications for arrest warrants, company employees withhold from the judge the fact that the

person did not pay because the person could not afford to pay.




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        185.    The Private Defendants typically recommend some time in jail in addition to

extension of supervised probation for every violation of misdemeanor probation. These penalties

help the companies ensure that their threats to jail probationers who do not pay enough money are

credible and help to convey to probationers that the company is correct when it describes the

influence that it wields over the local probation system.

        186.    Arrests and revocation lead to additional court debts being added to the

probationers’ existing debts.

        187.    As a result of Defendants’ policies and practices, probationers end up on supervised

probation with a private company for years because they cannot afford to make payments.

        188.    It is the policy, pattern, and practice of the Private Defendants and Giles County

not to inform probationers that their ability to pay is a critical issue at any revocation proceeding

concerning their nonpayment. As a result, their probation is revoked and extended without anyone

ever determining that nonpayment was willful.

        F.      When a Person Pays Her Debts in Full

        189.    Desperate to get off of supervised probation, probationers will sometimes use their

tax refunds, an entire social security check, payday loans, money from selling blood plasma,

proceeds from selling personal items, or money loaned from family and friends to pay off their

debts to the company and the court.

        190.    PSI and CPS have different policies and practices that apply when someone has

paid her court debts in full.

        191.    The supervised probation of a person who is being supervised by CPS will not end

unless and until the company itself decides to convert the person’s supervised probation to

unsupervised.




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       192.    When a person pays off her debt in full, CPS issues an “Order” informing the

probationer that her supervised probation is over and that she is now on unsupervised probation.

These “Orders” are signed only by the individual CPS employee. No judge reviews the decision

to convert a person’s supervised probation to unsupervised. And the judge does not sign the

“Order.”

       193.    When CPS converts an individual’s probation from supervised to unsupervised, the

probationer is no longer required to report to the company, pay additional fees to the company,

submit to costly drug tests, or suffer additional restraints on her liberty imposed by the company.

       194.    The final decision to make this conversion rests entirely with CPS, which has a

direct financial stake in delaying conversion.

       195.    Because people who are supervised by PSI make payments on their court debts

directly to the court clerk, the clerk’s office knows before PSI does when a person is eligible for

unsupervised probation. When that happens, the clerk’s office notifies PSI, and PSI puts a “hold”

on collection of the supervision fees. The person is no longer required to report to PSI or to submit

to the company’s conditions of probation.

       196.    Giles County’s contractual agreements with the Defendant companies have turned

the Giles County misdemeanor probation system into a mechanism for generating profit for private

benefit and coercing collection of court debts for the County in a way that violates Tennessee and

federal law governing debt collection.

       197.    Pursuant to the Contracts, financial incentives permeate every decision made before

and during the probation period, leading to systemic violations of Plaintiffs’ fundamental rights.

       198.    The Private Defendants earn hundreds of thousands of dollars from this extortion

scheme each year. The County collects hundreds of thousands in court debts each year.




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VI.     PLAINTIFFS ARE SUBJECTED TO DEFENDANTS’ UNCONSTITUTIONAL
        FOR-PROFIT PROBATION SYSTEM

        A.      Plaintiff Karen McNeil

        199.    Karen McNeil is 53 years old and lives in Giles County with a friend in a mobile

home outside of Pulaski. She has four adult children.

        200.    Ms. McNeil was subjected to supervised probation with CPS from March 2016

until October 2017. She was previously supervised on probation by PCC, Inc. from November

2015 until March 2016. For the entire period of supervised probation with both CPS and PCC,

Inc., Defendant McNair was the probation officer to whom Ms. McNeil primarily reported.

        201.    Ms. McNeil has an eighth grade education. She cannot read or write at an adult

level and is functionally illiterate.

        202.    Ms. McNeil lives in poverty and struggles to meet the basic necessities of life. She

has no bank account, real estate interest, or other assets. She depends on Supplemental Security

Income (“SSI”) and food stamps to survive.

        203.    Ms. McNeil is not employed. She last worked about twenty years ago, as a traffic

flagger. While on the job, she was hit by a truck and sustained severe back injuries that have

prevented her from working regularly ever since. Due to her medical conditions and the accident,

Ms. McNeil suffers from serious chronic pain.

        204.    Ms. McNeil faces additional health challenges that impede her day-to-day life,

including chronic obstructive pulmonary disorder (“COPD”), cancer, and fibromyalgia. She has

had multiple major surgeries. At times, she must use an oxygen tank and a cane for walking.

        205.    Ms. McNeil pled guilty on November 19, 2015 to driving on a revoked license, a

misdemeanor offense, and was sentenced to probation for 11 months and 29 days, with a minimum

of four months’ supervised probation. The Court assessed $426 in fines and fees and ordered her



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to pay $25 each week in court costs and fines, $45 a month in supervision fees, and $45 for each

drug test. After four months, Ms. McNeil’s supervised probation could have been converted to

unsupervised probation, but only if her court costs and probation fees were paid in full.

        206.    At no point was Ms. McNeil ever able to afford these payments without sacrificing

the basic necessities of life.

        207.    Throughout Ms. McNeil’s probation—whether the company supervising

Ms. McNeil was PCC, Inc. or CPS—she endured Defendant McNair’s perpetual threats of arrest

and jailing for nonpayment. Ms. McNeil lived in constant terror that she would be arrested and,

given her serious medical issues, she reasonably feared she would die if sent to jail.

        208.    Defendant McNair repeatedly forced Ms. McNeil to undergo invasive and

humiliating drug tests throughout her probation with CPS. Pursuant to company policy, during

each drug screen, Defendant McNair forced Ms. McNeil to leave the bathroom door open while

Defendant McNair observed Ms. McNeil urinating into a cup to produce a sample to be tested.

Anyone walking down the hallway could see Ms. McNeil urinating. On one occasion, Defendant

McNair invited a male CPS employee to watch Ms. McNeil urinate.

        209.    CPS required Ms. McNeil to pay $45 for each drug test. Because she could not

afford that amount up-front, it was added to the total debt owed to CPS.

        210.    On April 19, 2016, while on supervised probation solely because Ms. McNeil had

been unable to pay her court costs and fines in full, Ms. McNeil was arrested for a misdemeanor

offense.

        211.    The following day, in accordance with CPS company policy, Defendant McNair

filed an affidavit, swearing to the court that Ms. McNeil violated a condition of probation because

she was “charged and arrested” for a new misdemeanor offense. A violation-of-probation arrest




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warrant was issued, stating that a $1,000 money bail amount, predetermined without an inquiry

into or findings concerning her ability to pay, would be required for Ms. McNeil’s release

following arrest.

       212.    While Ms. McNeil was in jail, Sheriff’s deputies served the violation-of-probation

warrant. On April 23, a friend signed a contract with a commercial bonding agent to secure Ms.

McNeil’s release.

       213.    On April 28, 2016, Ms. McNeil pled guilty to the new misdemeanor offense and to

the alleged violation of probation. Ms. McNeil was sentenced to 45 days in jail for violating

probation, and a concurrent 30 days in jail for the new offense. She was informed that her

probation would be reinstated after she completed 45 days in jail.

       214.    While Ms. McNeil was in jail serving the sentence, jail employees refused to

administer Ms. McNeil’s prescription pain medication. They told her that her only option would

be to purchase two ibuprofen pills for two dollars at the commissary. She could not afford the

medicine. Ms. McNeil attempted to seek help from a nurse, but the guards required her to fill out

a “nurse request” form, which Ms. McNeil could not do on her own given her limited reading and

writing abilities. The guards refused to help her complete the form, made fun of her, and called

her “stupid” because she could not read or write.

       215.    Due to overcrowding, Ms. McNeil had to sleep on the floor of her jail cell, which

aggravated her chronic back pain.

       216.    When she was released from jail, her for-profit supervised probation was reinstated,

and she incurred additional court costs and fees.

       217.    Because she was so afraid of being arrested and jailed for nonpayment, throughout

her entire term of supervised probation, Ms. McNeil often chose to pay the company rather than




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purchase the medication she needs to treat chronic pain, pay her electricity bill, or pay rent. Ms.

McNeil’s electricity was shut off because she made payments to CPS instead of paying her utility

bill. She became homeless in significant part because she paid the company instead of her rent.

Ms. McNeil slept in a tent by a creek in July 2016.

       218.     During a probation meeting after losing her home, Ms. McNeil told Defendant

McNair that she was sleeping by the creek. Defendant McNair demanded money anyway, saying,

“We still gotta have payment.”

       219.     After about three months of homelessness, Ms. McNeil found a place to live.

       220.     Throughout all of this, Ms. McNeil continued to report to CPS. But because

Ms. McNeil’s driver’s license is suspended due solely to her inability to pay court costs, she cannot

lawfully drive. She therefore sometimes walked over a mile with her oxygen tank, including on

hot summer days, to the CPS office.

       221.     Ms. McNeil missed some appointments around that time because she could not find

a ride and was unable to walk all the way to the probation office because of her disability. When

she was unable to report in person, she called the office, but no one answered the phone or returned

her messages.

       222.     In October 2016, Defendant McNair again sought a violation-of-probation arrest

warrant, alleging that Ms. McNeil did not report on four occasions and did not “pay all required

supervision fees, court fines and court cost.” Defendant McNair did so even though she knew that

Ms. McNeil was living in desperate poverty, could not afford the costs and fees, and was physically

unable to walk to the probation office or to find someone to drive her.

       223.     The violation-of-probation arrest warrant stated that Ms. McNeil would be required

to pay a predetermined secured financial condition of $1,500 to secure release.




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       224.    After the warrant issued, Defendant McNair told Ms. McNeil that there was an

active warrant for her arrest, and instructed Ms. McNeil to “stay low” to avoid law enforcement,

but also insisted that Ms. McNeil continue to make payments to CPS by mail.

       225.    Defendant McNair told Ms. McNeil that she would “get the judge to dismiss the

charges” if Ms. McNeil paid all of her fees and debts to CPS.

       226.    On November 15, 2016, Ms. McNeil was arrested on the violation-of-probation

arrest warrant and kept in jail for one day before a friend loaned her the money to pay the bond

amount.

       227.    On December 22, 2016, Ms. McNeil appeared in General Sessions court for a

probation-revocation hearing and pled guilty to the alleged violations, including nonpayment of

fees and costs. Ms. McNeil’s probation was revoked without any inquiry into the reasons for

nonpayment or her ability to make payments. She was sentenced to another 45 days in jail for

nonpayment and non-reporting, followed by an extension of probation for six months, until June

22, 2017, including supervision by the private company “until costs/fines paid in full,” and the

addition of more costs and fees.

       228.    Ms. McNeil continued to report to probation, and the company continued

threatening her with arrest and jailing if she did not make payments. Because she was scared of

being sent to jail again for nonpayment, Ms. McNeil paid the company instead of her rent.

       229.    In March 2017, because she made payments to CPS, she could no longer afford the

rent where she had been living and moved into a one-room mobile home with a friend and another

roommate. After a few months, Ms. McNeil moved in with another friend, who lives in a different

mobile home.




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        230.    Throughout her probation, Ms. McNeil repeatedly told Defendant McNair that she

was struggling to pay for food, housing, utilities, and other basic necessities and could not afford

the payments required. In response, Defendant McNair told Ms. McNeil to “go pick up cans” to

pay her court debt and fees.

        231.    During an April 2017 reporting date, Defendant McNair threatened Ms. McNeil

with “ninety days in jail” if she did not pay, warning Ms. McNeil that she might seek an arrest

warrant before Ms. McNeil’s probation ended, since “it looks like you won’t have it paid.”

        232.    Neither Defendant McNair nor anyone else at CPS ever informed Ms. McNeil that

she could seek a waiver or reduction of her payments or that it violates the law to seek revocation

of probation solely for nonpayment. In fact, when Ms. McNeil asked Defendant McNair to waive

her supervision fees because she could not both pay the company and also pay for basic necessities,

Defendant McNair told her that she had no power to waive or reduce the fees. Ms. McNeil asked

Defendant McNair if the court could waive or reduce her payments, and Defendant McNair told

her that was not possible.

        233.    Throughout her probation, Ms. McNeil was terrified that she would be arrested and

jailed. Every time a car pulled up to her trailer, she would startle, fearing that the police had arrived

to arrest her for nonpayment.

        234.    On May 2, 2017, Ms. McNeil made a $120 payment to CPS, which she scraped

together from her social security disability benefits and money from friends. Defendant McNair,

in her discretion, allocated $60 of the payment to supervision fees and $60 to court debts (with a

remaining balance of $265). Defendant McNair wrote on Ms. McNeil’s payment receipt that Ms.

McNeil would owe more than $500 the next time she reported, and told Ms. McNeil that she would




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seek an arrest warrant if Ms. McNeil did not pay the full amount by the end of her probation period

in June.

       235.       On June 6, 2017, Ms. McNeil reported to CPS. When she arrived at the company’s

office, Defendant McNair told Ms. McNeil to submit to a drug test and instructed a male CPS

employee to accompany Ms. McNeil to the bathroom to observe Ms. McNeil urinate. After Ms.

McNeil submitted to the drug screen, Defendant McNair told Ms. McNeil that she had tested

positive for a controlled substance.

       236.       On June 30, 2017, Ms. McNeil attended her son’s graduation from a G.E.D.

program. He was incarcerated at the time, so she went to the jail for the ceremony. When

Ms. McNeil arrived at the jail, Giles County Sheriff Helton told her that a warrant had been issued

for her arrest. The violation-of-probation warrant was based on CPS’s allegations that Ms. McNeil

tested positive for drugs and did not pay $215 in court costs. (It is unclear how the company

calculated that Ms. McNeil owed $215 in court costs given that a receipt from June 6, 2017 states

that Ms. McNeil paid $60 and had a “balance” of $265.) He told Ms. McNeil to return to the jail

the following day, which she did.

       237.       On July 1, Ms. McNeil was booked into the jail because she could not afford to pay

the $2,500 secured financial condition of release that was pre-printed on the violation-of-probation

arrest warrant.

       238.       Ms. McNeil was released later that day after a friend paid a $300 nonrefundable fee

to a commercial bonding agent who then posted her bond. Ms. McNeil used about half of her next

disability check to repay her friend. As a result, Ms. McNeil could not afford some of her

medications or any of her probation fees that month.




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       239.    A jail employee told Ms. McNeal to appear in court for the alleged violations of

probation on July 27, 2017. At that court date, she was told to come back on August 17, 2017.

Defendant McNair told Ms. McNeil to continue reporting and paying probation fees in the

meantime.

       240.    On August 17, 2017, Ms. McNeil appeared in court for a violation-of-probation

hearing. Her probation was revoked, and she was sentenced to 65 days in jail.

       241.    Upon her release from jail, the County and CPS finally released her from probation.

       242.    CPS, McNair, and the County knew at all times that Ms. McNeil was impoverished

and that her only income came from social security benefits: Ms. McNeil provided her financial

information to CPS repeatedly on forms and during meetings, and to the court when she sought

appointed counsel.

       B.      Plaintiff Lesley Johnson

       243.    Lesley Johnson is a 35-year-old single mother of two children, ages 11 and 13. She

lives in Mississippi, and previously lived in Baldwin County, Alabama, where she resided during

the period she was on CPS probation.

       244.    Ms. Johnson performed manual labor for a Mercedes-Benz factory in Giles County.

She lives paycheck to paycheck and struggles to provide basic necessities for herself and her

children.

       245.    In 2015, Ms. Johnson received a traffic ticket in Baldwin County, Alabama. She

was unable to pay the ticket, and her driver’s license was suspended as a result.

       246.    On September 6, 2016, Ms. Johnson was charged in Giles County with driving on

a suspended license, a misdemeanor offense. She was found indigent and legal counsel was

appointed. Ms. Johnson was assessed a $100 “public defender fee” and a $50 fee for the “attorney

indigent admin fee.”


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         247.   On February 9, 2017, Ms. Johnson pled guilty. She was sentenced to six months

of probation, assessed $331 in court debt, and assigned to CPS for supervision “until paid in full,”

meaning that as soon as she paid her court costs in full, her supervised probation would be

converted to unsupervised probation. Because she could not afford the payments, she was subject

to all of the conditions of supervised probation throughout her entire probation term.

         248.   On the day she was sentenced, Ms. Johnson was told to speak with Defendant

McNair, who was seated in the courtroom at a desk labeled “CPS, LLC” to the right of the judge.

Defendant McNair instructed Ms. Johnson to bring $45 for a supervision fee, $35 for a drug screen,

and $25 for court costs to her first probation reporting date, “or it will be a violation.” Ms. Johnson

believed that a “violation” would mean jail time.

         249.   Ms. Johnson began reporting as required every two weeks and made whatever

payments she was able to make whenever she could. Her probation meetings lasted less than ten

minutes. At each meeting, she completed paperwork about her employment, and Defendant

McNair asked her for a payment.

         250.   On April 11, 2017, Ms. Johnson paid CPS $55. Defendant McNair exercised her

discretion to allocate $22 to pay for drug testing and $23 to court debts. On April 25, 2017, Ms.

Johnson paid $60. Defendant McNair allocated $30 to probation supervision fees and $30 to court

costs.

         251.   While on supervised probation, Ms. Johnson routinely had to choose between

paying the private company—so she could avoid being arrested and jailed, and her probation

revoked and extended—and meeting the basic necessities of life, such as buying food and clothes

for her children. Sometimes, she could not afford her rent because she instead paid CPS.




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       252.    Paying the company made it even more difficult for Ms. Johnson to make ends

meet. To survive, Ms. Johnson used an application on her cell phone to “borrow” from her next

paycheck so she could purchase basic necessities. To feed her children, she relied on donated food

from her church.

       253.    Ms. Johnson was terrified she would lose her children if she was jailed for

nonpayment.

       254.    Fearing that her probation would be revoked if she fell behind on payments,

Ms. Johnson repeatedly told Defendant McNair that she could not afford the payments. The first

time Ms. Johnson told Defendant McNair that she could not pay, Defendant McNair replied by

threatening Ms. Johnson with a “violation” and “120 days in jail” if she did not pay the full amount

owed by the end of her probation term.

       255.    At another probation meeting, Defendant McNair told Ms. Johnson that

nonpayment would lead to an extension of her term on supervised probation. When Ms. Johnson

asked if an extension meant that she would continue to have to pay $45 per month in supervision

fees, Defendant McNair confirmed that it did.

       256.    Sometimes, Defendant McNair required Ms. Johnson to submit to a drug test—

each of which generated more profit for the private company—even though Ms. Johnson’s offense

of conviction had nothing to do with drugs.

       257.    CPS, McNair, and the County were at all times aware of Ms. Johnson’s indigency—

because Ms. Johnson repeatedly told Defendant McNair that she could not afford the payments—

but did not reduce or waive any of her fees. The company never informed Ms. Johnson of a process

for seeking a waiver or reduction of her costs and fees, or that it was illegal to jail her solely for

nonpayment.




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       258.      On July 11, 2017, Defendant McNair informed Ms. Johnson that her probation

term, which was scheduled to end on August 8, 2017, would end only if she paid her remaining

court debts and probation fees by that date. When Ms. Johnson asked what would happen if she

did not have the money to pay, Defendant McNair said the judge would extend her supervised

probation for another six months.

       259.      Also on July 11, Defendant McNair demanded that Ms. Johnson to submit to a drug

test and insisted that she watch, humiliating Ms. Johnson while she urinated.

       260.      Ms. Johnson told CPS that she believed it was unfair to keep her on probation only

because she could not afford to pay. Defendant McNair responded that if Ms. Johnson had simply

paid up-front, she would have been placed on unsupervised probation.

       261.      Because she was so afraid of being arrested and jailed for nonpayment, and of

remaining on supervised probation, Ms. Johnson sold her television and laptop—which her

children need to do homework—so that she could make a lump sum payment to CPS and terminate

her probation.

       262.      On August 8, 2017, Ms. Johnson paid CPS $331 to satisfy all remaining CPS fees

and court debt. In total, she had paid $340 in probation fees to CPS which is more than she owed

and paid in court debts.

       263.      When her probation was terminated, Ms. Johnson told a CPS employee that she had

to sell her belongings to make the final payment. The probation officer chuckled in response.

       264.      The only reason Ms. Johnson spent any time on supervised probation was because

she was too poor to afford her court costs and probation fees when she was sentenced. But for her

poverty, she could have avoided the entire six months of supervision, including threats of arrest

and jailing, onerous conditions, and invasive and humiliating drug tests.




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        C.       Plaintiff Tanya Mitchell (through her Estate) 17

        265.     Tanya Mitchell is 53 years old and lives in Giles County, in a mobile home with

her daughter, Plaintiff Indya Hilfort, and four grandchildren (Ms. Hilfort’s children).

        266.     Ms. Mitchell is currently unemployed, and her sole income is from food stamps.

She has not worked since 2012, when she was employed as a home healthcare worker, and relies

on family and friends for financial support.

        267.     Ms. Mitchell has multiple serious medical conditions, including fibromyalgia and

gout, that prevent her from working. As a result, Ms. Mitchell struggles to provide basic

necessities for herself and her household.

        268.     The electricity in her trailer home has been disconnected for several days in the past

few months because she could not afford to pay the bill.

        269.     On September 25, 2017, Ms. Mitchell pled guilty in Giles County Circuit Court to

a misdemeanor charge. She was sentenced to probation for 11 months and 29 days, assessed $750

in court fines and fees, and ordered to pay at least $50 per month in supervision fees.

        270.     Ms. Mitchell was assigned to PSI for probation “supervision,” and met with

Defendant Markeyta Bledsoe immediately after being sentenced to probation. Defendant Bledsoe

told Ms. Mitchell that the terms of her probation included bi-weekly, in-person reporting, drug

tests that would be administered whenever the probation company wanted, and payment of a $45

per month probation supervision fee.

        271.     Defendant Bledsoe told Ms. Mitchell that she was required to make a payment of

$83.75 the first time she reported for probation.




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  These facts are identical to those found in the Second Amended Complaint and do not reflect Ms. Mitchell’s
passing on September 14, 2020.


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       272.    Ms. Mitchell reported to probation for the first time on October 9, 2017, as

instructed by Defendants PSI and Bledsoe. Ms. Mitchell’s family and friends gave her money so

she could pay the $83.75 the company demanded.

       273.    Ms. Mitchell has made every reporting date required. She asks family and friends

to give her money, including friends from out of state who frequently send her money, so she can

make partial payments when she reports to probation because she is afraid she will be arrested and

jailed, and her probation revoked and extended, if she does not pay the company. She has not

made any payments to the court so she still owes the full amount of court debt she owed when she

was initially placed on probation.

       274.    To pay PSI, Ms. Mitchell has forgone medicine for her many conditions because

she cannot afford to pay both PSI and purchase her prescriptions.

       275.    Defendant Bledsoe has, in her discretion, allowed Ms. Mitchell to report monthly

instead of every two weeks because Ms. Mitchell typically makes a payment to PSI toward her

supervision fee. But Defendant Bledsoe conveyed to Ms. Mitchell that if she stops making

payments to PSI, Defendant Bledsoe will require her to report more frequently.

       276.    To avoid having to report in-person more frequently—which is difficult for

Ms. Mitchell because she does not have money to pay for gas—Ms. Mitchell pays the company’s

fees, and has been unable to make any payments toward her court debt.

       277.    Defendant Bledsoe has drug tested Ms. Mitchell, and watched Ms. Mitchell through

an open door while Ms. Mitchell urinated.

       278.    Defendant Bledsoe has repeatedly told Ms. Mitchell that she must make a payment

every month, even if Ms. Mitchell is unable to pay the full amount due.




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       D.       Plaintiff Indya Hilfort

       279.     Indya Hilfort is a 27-year-old single mother of four children under the age of 10.

She lives with them and her mother, Named Plaintiff Tanya Mitchell, in a mobile home in Giles

County. She is the only member of the household who is able to work.

       280.     Ms. Hilfort lost her job at a factory in December 2017, after being hospitalized for

the flu. After a stretch of unemployment, Ms. Hilfort obtained a job in mid-June 2018 taking home

$350 a week, which is below the federal poverty line to care for herself and four young children.

       281.     Ms. Hilfort struggles to meet the basic necessities of life, including providing food,

clothing, and shelter for herself and her children. Prior to moving in with her mother, Ms. Hilfort

was homeless.

       282.     On December 8, 2016, Ms. Hilfort pled guilty in General Sessions Court to a

misdemeanor charge.

       283.     Ms. Hilfort was sentenced to a jail term of 11 months and 29 days, to be suspended

for a probationary term of 11 months and 19 days after serving ten days in jail. Ms. Hilfort was

assessed $565.50 in court costs, fines, and taxes. She was assigned to supervised probation for a

minimum of four months, after which time she would be eligible for unsupervised probation, but

only if she had paid her court costs and probation fees in full.

       284.     Due to a clerical error, Ms. Hilfort was not initially assigned to supervision with

either company, and so she did not report to either company for the first eight months of her

probationary period.

       285.     The clerical error was resolved in August 2017. Ms. Hilfort began reporting to CPS

in September.




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       286.    On September 25, 2017, Ms. Hilfort pled guilty to a misdemeanor charge in Circuit

Court. She was assessed $1,487.50 in court costs, fines, taxes, and restitution. Ms. Hilfort was

sentenced to 11 months and 29 days on supervised probation and assigned to CPS.

       287.    CPS therefore supervises Ms. Hilfort on two concurrent probation cases.

       288.    Ms. Hilfort met with Defendant McNair immediately after being sentenced in the

second case. Defendant McNair told Ms. Hilfort that the conditions of her probation included in-

person reporting every two weeks, drug tests to be administered in the discretion of the for-profit

probation officer (even though neither charge involved drugs), and monthly payments of $45 for

a probation supervision fee. Defendant McNair also informed Ms. Hilfort that if she paid off her

court and probation fees and did not violate her probation in the first four months, CPS would

place her on unsupervised probation for her Circuit Court probation case, as with her General

Sessions probation case.

       289.    Ms. Hilfort cannot afford to pay the supervision fees or court debt. To make ends

meet, Ms. Hilfort relies on money from family members.

       290.    Ms. Hilfort asked Defendant McNair for a supervision fee waiver form on March

5, 2018. Defendant McNair did not provide one. Instead, she suggested that Ms. Hilfort pay

probation fees from a tax refund or that Ms. Hilfort request an extension of probation (to avoid

arrest, jailing, and formal revocation of probation), which, of course, would result in additional

fees and prolonged supervision requirements.

       291.    Defendant McNair previously supervised Ms. Hilfort for a period of 11 months and

29 days, from June 2015 (while Defendant McNair was employed by PCC, Inc.), to June 2016

(Defendant McNair was hired by CPS, LLC in March 2016). During this period of supervision,

Defendant McNair threatened Ms. Hilfort with jail if she did not pay her supervision fees. Shortly




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before the supervision period was supposed to end, Defendant McNair told Ms. Hilfort to pay her

CPS supervision fees in full by noon the next day or go to jail. Fearing jail, Ms. Hilfort sold car

tires and borrowed money from her boyfriend to pay her supervision fees. After Ms. Hilfort paid

in full, Defendant McNair did not seek a violation-of-probation warrant.

        292.    Because of this experience and Defendant McNair’s continued insistence on

receiving payment, Ms. Hilfort fears that her probation will be revoked and extended, and that she

will be arrested and jailed, if she does not pay off her supervision fees before her probation term

ends.

        293.    Defendant McNair has informed Ms. Hilfort that if she does not pay her debts in

full by the end of her probation term, CPS will “violate” her, and Ms. Hilfort’s probation

supervision will be extended. Ms. Hilfort understands a probation violation to mean jailing.

        294.    Defendant McNair (while employed with CPS) drug tested Ms. Hilfort on

November 7, 2017, even though Ms. Hilfort’s offenses had nothing to do with drugs or alcohol.

At this point in time, Ms. Hilfort was on pay-only supervised probation in her general-sessions

case.

        295.    The drug screen came back positive and Defendant McNair told Ms. Hilfort that

the company would seek an arrest warrant alleging to the court that Ms. Hilfort violated her

probation. Defendant McNair told Ms. Hilfort that she would be required to pay a $2,500 secured

financial condition of release after arrest.

        296.    On November 8, 2017, Defendant McNair sought an arrest warrant by filing an

affidavit alleging violation of Ms. Hilfort’s Circuit Court probation for the positive drug screen.




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          297.   On November 14, 2017, Defendant McNair sought an arrest warrant by filing an

affidavit alleging violation of Ms. Hilfort’s General Sessions probation for the same positive drug

screen.

          298.   On February 6, 2018, Ms. Hilfort was arrested on the violation-of-probation

warrants. A friend who is a bondsman posted her bond the same day and loaned her the $250

normally required up-front as a nonrefundable premium. Her friend is allowing her to pay him

back in installments over time.

          299.   On February 22, 2018, Ms. Hilfort was sentenced to 60 days in jail for her General

Sessions violation of probation, and her probation was revoked and extended for an additional 11

months and 29 days of pay-only probation “until all fines, costs and fees are paid in full,” according

to the order.

          300.   At sentencing, when the General Sessions court asked if she could pay $25 a week

on her newly-imposed court fines and fees, she said “yes” after being informed by her public

defender that if she did not agree to make the weekly payment, the County would jail her that day,

instead of allowing her two weeks to prepare for her 60-day jail sentence.

          301.   Ms. Hilfort reported to jail on March 19, 2018 to begin serving her 60-day sentence.

Her mother, Plaintiff Tanya Mitchell, is taking care of Ms. Hilfort’s four young children. Ms.

Hilfort is scared that something may happen to her kids if her mother becomes sick while Ms.

Hilfort is in jail. Ms. Mitchell recently spent several days in the intensive care unit for cardiac

problems in March 2018, and those health issues could recur at any time.

          302.   On March 27, 2018, Ms. Hilfort was sentenced to 60 days in jail for violating

probation in the Circuit Court case, to be served concurrently with her sentence in the General

Sessions case. Her probation was revoked for her Circuit Court case and extended for an additional




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period of up to 11 months and 29 days of pay-only probation “until all fines court costs pd. [sic]

in full,” according to the order.

       303.    On April 26, 2018, three days after the filing of the initial complaint, Giles County

released Ms. Hilfort from jail, prior to the completion of her VOP jail sentence, without

explanation.

       304.    On July 9, 2018, Ms. Hilfort was arrested in Lawrence County on a warrant recently

issued for an alleged incident from July 2017. Ms. Hilfort borrowed money from a family member

to pay a bondsman $300 so that she would be released from the Lawrence County jail. She owes

her family member $300 and also owes the bondsman another $300, and committed to repaying

both from her next paycheck.

       305.    On July 10, 2018, Ms. Hilfort informed a CPS probation officer about the arrest, as

required by the Rules of Probation.

       306.    On July 11, 2018, Ms. Hilfort learned that a violation-of-probation arrest warrant

had been issued with a $2,500 bond amount on it. She believes that she is being alleged to have

violated probation because she was arrested in Lawrence County.

       307.    Ms. Hilfort will have to pay $2,500, or a $287.50 nonrefundable fee (ten percent of

the bond, plus an additional $37.50 fee) to a private bail bonds company, to be released.

       308.    No one asked Ms. Hilfort if she could afford to pay that amount of money.

       309.    Ms. Hilfort cannot afford to pay $2,500 to buy her release from jail in the event that

she is arrested. She cannot afford even $287.50. Although she was able to get a job in mid-June

2018, Ms. Hilfort struggles to provide basic necessities for her family, including herself, her four

children, and her mother. She currently owes debts totaling nearly $1,000, and cannot afford the




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electricity bill or groceries. Ms. Hilfort cannot afford to pay any amount of money to get out of

jail in Giles County if she is arrested on the violation-of-probation warrant.

       310.     If Ms. Hilfort is arrested and cannot pay the conditions for her release, she will be

kept in jail until, at the earliest, the Thursday after she is arrested, when she will be taken to court

for a violation-of-probation hearing.

       311.     Ms. Hilfort is afraid of being arrested and spending days or weeks in jail because

she cannot pay for her release. She believes she will lose her job if arrested and detained in jail,

because she has shifts five days a week, on weekdays, and if she is in jail, she will not be able to

go to work. Ms. Hilfort will also be separated from her four young children who depend on her.

       E.       Plaintiff Lucinda Brandon

       312.     Lucinda Brandon is a 31-year-old single mother of three children under the age of

ten. She lives in Lawrence County, Tennessee.

       313.     Ms. Brandon was on supervised probation with PSI from September 30, 2015 to

May 18, 2017. During that time, Ms. Brandon worked at manufacturing plants in Giles, Murray,

and Marshall counties in Tennessee. She lived paycheck to paycheck, struggling to pay rent and

utility bills and to provide basic necessities, such as clothing, food, and medical care, for herself

and her children. Ms. Brandon also experienced periods of unemployment while on supervised

probation with PSI.

       314.     In September and October 2015, Ms. Brandon pled guilty to two misdemeanor

charges of driving on a suspended license and one misdemeanor charge of failure to appear for a

court date for one of the traffic charges. She was sentenced to one period of 11 months and 29 days

of supervised probation and two six-month terms of supervised probation. All of these terms ran

concurrently.




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          315.   For all three convictions, Ms. Brandon owed a combined total of approximately

$1,300 in court costs and $10 in fines. Defendant Thompson instructed her to pay $45 a month to

PSI in supervision fees.

          316.   Defendant Thompson also instructed Ms. Brandon to report to PSI. She began

reporting on September 30, 2015, primarily meeting with Defendant Thompson. Ms. Brandon also

met twice at the end of her probation with Defendant Bledsoe.

          317.   From the beginning of her term on supervised probation, Ms. Brandon made

payments to the company whenever she could because she was terrified that she would be jailed.

Defendant Thompson repeatedly told Ms. Brandon that she would be “violated” if she did not

make the payments Defendant Thompson demanded, meaning that she would be arrested and

jailed.

          318.   Defendant Thompson’s insistence on payment was frequent, including around the

birthdays of Ms. Brandon’s young children, when Ms. Brandon wanted to provide her children

presents. Defendant Thompson repeatedly informed her that if she did not bring in payments, the

company would “violate” her.

          319.   Ms. Brandon sacrificed basic necessities to pay for probation. For example, she was

unable to afford rent because she was making payments to PSI. To avoid homelessness, Ms.

Brandon and her children moved in with her mother. Ms. Brandon’s mother has physical

disabilities and survives on limited government benefits, but Ms. Brandon was forced to rely on

her for food and shelter.

          320.   While living with her mother, Ms. Brandon continue to struggle to meet the basic

necessities of life. When her children were sick and required treatment, Ms. Brandon had to borrow

money from family to pay for medicine. She often relied on family to pay for gas, clothes, and




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food, and frequented a local food pantry so her children could eat. While on probation, Ms.

Brandon sometimes ate only one meal a day herself to ensure her kids had enough food.

       321.    Ms. Brandon repeatedly told Defendant Thompson that she was unable to make the

payments the company demanded. Defendant Thompson let her know she had to pay or she would

go to jail, telling her repeatedly that making payments is a condition of probation and if she didn’t

comply, she would be “violated.”

       322.    Even though Defendant Thompson knew Ms. Brandon was struggling to make

payments and support her family, Defendant Thompson never mentioned the existence of a

supervision fee reduction or waiver form and never provided Ms. Brandon such a form. Ms.

Brandon had no idea such a form even existed, so she could not ask for it.

       323.    In February 2016, as Ms. Brandon neared the end of her two six-month supervised-

probation terms Ms. Brandon was scared she would be arrested and jailed for nonpayment. Ms.

Brandon decided to use her tax return to pay the remainder of the court debt for the two cases for

which her probation was about to end, even though she needed the money for food, rent, and

utilities. Instead of paying for those necessities, she paid the County approximately $500. After

that payment, Ms. Brandon still owed approximately $500 in court debt for her remaining failure

to appear charge. She continued on supervised probation in that case.

       324.    On June 24, 2016, Defendant Thompson instructed Ms. Brandon that she would

have to submit to a drug screen. During this drug screen, as with the others, Defendant Thompson

told Ms. Brandon she had to urinate with the door open while Ms. Thompson watched her. Using

the bathroom while another person watched and in view of anyone who happened to walk down

the hallway made Ms. Brandon feel humiliated.




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       325.      Based on the in-house drug-testing kit, Defendant Thompson told Ms. Brandon that

she had tested positive for marijuana. In accordance with PSI policy, Defendant Thompson offered

Ms. Brandon an opportunity to avoid being arrested and jailed on a violation-of-probation arrest

warrant by instead paying for a “Drug Education Program” course that PSI offers in-house and

which cost $75—an amount that must be paid up-front to the company before a person can enroll

in the class. If Ms. Brandon could pay the amount required to participate in the course, Ms.

Brandon would be able to avoid arrest, jailing, and a revocation and extension of her supervised

probation. But if Ms. Brandon could not make the payment upfront, she would be prohibited from

taking the class, and the company would seek an arrest warrant.

       326.      Terrified of being arrested, jailed, and separated from her family, Ms. Brandon

borrowed money to make a $100 cash payment to PSI on July 13, 2016, instead of paying for food

and rent for her family. Defendant Thompson allocated $75 toward the “Class” and $25 to

“Supervision.”

       327.      Ms. Brandon completed the “Drug Education Program” on September 7, 2016.

Defendant Thompson, on behalf of PSI, was the “Program Facilitator” of the program. The class

took place at the PSI office. Because Ms. Brandon managed to pay the company to take the class,

no arrest warrant issued relating to the alleged positive drug screen.

       328.      Throughout Ms. Brandon’s probation, Defendant Thompson continually instructed

Ms. Brandon that she had to make payments to PSI and the court and failure to do so would result

in a “violation,” meaning that she would be arrested and jailed.

       329.      Ms. Brandon experienced extreme stress and anxiety about the possibility of going

to jail simply for inability to pay. She made payments to PSI because she was afraid of going to

jail. Ms. Brandon believed her children and her mother would suffer without her income, and she




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knew she would lose her job if she were arrested and jailed. She was scared that her children being

placed in foster care if she went to jail.

        330.    Defendant Thompson knew, because Ms. Brandon repeatedly told her, that Ms.

Brandon had diverted money needed to support herself and her family so that she could make

payments to the company and the court. Even so, on September 16, 2016, as Ms. Brandon’s term

on supervised probation was ending, Defendant Thompson sought a warrant for Ms. Brandon,

alleging that she violated her probation by failing to make payments to the court and the company.

Defendant Thompson omitted crucial information from the sworn affidavit alleging nonpayment

about Ms. Brandon’s efforts to pay and the hardship she experienced as a result of being required

to make payments under threat of arrest and jail. The violation-of-probation warrant states that Ms.

Brandon owed PSI $250.00 in fees and $512.50 in court debt.

        331.    Ms. Brandon appeared in court for a revocation hearing on November 10, 2016.

        332.    On that day, Ms. Brandon’s probation for her remaining case, a term of 11 months

and 29 days, was revoked and extended. Due to the violation, Ms. Brandon’s court debt increased

from $512.50 to $618.50. She was told that “probation may be terminated once financial obligation

to court is met.” In other words, as soon as Ms. Brandon managed to pay her court debt—which

increased to $618.50 as a result of the nonpayment warrant—her probation would be terminated

immediately. The probation company led her to believe, contrary to Tennessee law, that she would

also have to pay all of her supervision fees before her probation would be terminated.

        333.    Ms. Brandon continued to incur more supervision fees as a result of the alleged

violation for nonpayment and the resulting revocation and extension. PSI continued to charge her

monthly fees that increased her probation debt because she could not afford to pay enough money

to get off of probation.




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       334.    On January 26, 2017, while Ms. Brandon was on supervised probation solely

because she was unable to make the required payments, Defendant Thompson drug tested Ms.

Brandon. Defendant Thompson informed Ms. Brandon that she had tested positive for marijuana

on the in-house drug test.

       335.    On February 13, 2017, Defendant Thompson petitioned for a violation-of-probation

arrest warrant, alleging non-reporting, a positive drug screen for marijuana, nonpayment of court

debt, and nonpayment of supervision fees to PSI as grounds for violation. The violation-of-

probation arrest warrant stated that Ms. Brandon owed $618.50 in court debt and $355 in fees to

PSI.

       336.    Defendant Thompson failed to include crucial information in the sworn affidavit

about the reasons Ms. Brandon missed some appointments. For example, the company’s probation

notes show that on many of the dates Ms. Brandon allegedly did not report, she called the probation

office and spoke personally with Defendant Thompson to explain that she was unable to report

because she did not have any transportation to Pulaski. None of that information was presented in

the affidavit Defendant Thompson swore.

       337.    The money bond on the warrant was set at $1,500 without notice and without an

inquiry or findings concerning her ability to pay or the need to detain her prior to a hearing. Ms.

Brandon has no idea how the monetary amount was determined, but she knew that if she were

arrested, she would have to pay that much money to get out of jail.

       338.    Ms. Brandon could not afford to pay $1,500 or even the premium required by a

commercial bonding company to get out of jail after arrest. Instead, Ms. Brandon’s mother, who

survives on limited government benefits, paid the non-refundable premium of $150 out of her

government check to a private bonding company so that Ms. Brandon would not be jailed after




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arrest. Ms. Brandon’s mother had to forgo basic necessities like food in order to loan Ms. Brandon

the money she needed to get out of jail.

       339.    Ms. Brandon’s court date for the alleged violation of probation was set for March

30, 2017.

       340.    On March 30, 2017, Ms. Brandon was told by her public defender that the

prosecutor wanted her to serve 90 days in jail for the positive drug screen, non-reporting,

nonpayment of PSI fees and court debt. Ms. Brandon did not want to go to jail because she did not

want to be separated from her children or lose her job. The public defender refused to advocate for

a lesser sentence, so Ms. Brandon decided to proceed pro se.

       341.    Ms. Brandon informed the district attorney that she had just begun a new job the

week prior and pleaded for an alternative to jail.

       342.    Ultimately, Ms. Brandon convinced the General Sessions Court to reset the

violation-of-probation revocation hearing to May 18, 2017. In exchange for not being jailed that

day, Ms. Brandon agreed to report biweekly to probation, pass at least two drug tests, and pay all

fines and costs in full before May 18, 2017, or else serve a 90-day jail sentence.

       343.    Desperate to avoid jail, Ms. Brandon made payments toward PSI fees and court

debt. Ms. Brandon forwent necessities like food, clothes, and gas, to pay the debts, and relied on

family members to make ends meet. On May 17, 2017, a day before the deadline to either pay in

full or go to jail for 90 days, Ms. Brandon made her last payments toward more than $1,000 in

combined fees to PSI and court debt.

       344.    Ms. Brandon’s probation was terminated.

       F.      Plaintiff Victor Gray

       345.    Plaintiff Victor Gray is 54 years old. He lacks stable housing, but lives in a motel

he pays weekly in Lawrence County.


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         346.   On November 7, 2019, Mr. Gray pled guilty in Giles County Circuit Court to a

misdemeanor charge. He was sentenced to probation for 11 months and 29 days, assessed over

$1,000 in court fines and fees, and ordered to pay at least $45 per month in probation supervision

fees.

         347.   Mr. Gray was assigned to PSI for probation “supervision,” and met with Defendant

Markeyta Bledsoe soon after being sentenced to probation.

         348.   Because Mr. Gray was incarcerated, he did not have a job in November 2019 when

he began reporting to PSI probation. After his release, he immediately attempted to find

employment, but was unable to find a job that paid him sufficiently for him to maintain his housing.

         349.   Throughout the COVID-19 pandemic, Mr. Gray has struggled to maintain

consistent employment.

         350.   Throughout his probation, Mr. Gray regularly updated Ms. Bledsoe about his

employment status. He told her that he was unemployed at several points and that, even when he

was employed, he was not receiving sufficient income to cover basic necessities such as food and

shelter. He has relied on his church for food and temporary shelter, and regularly gone without a

phone.

         351.   During his time on probation, Mr. Gray lost his housing after he stopped being able

to afford his utilities and then his rent payments. He lived with family, on the streets, and when he

could afford it, like now, he pays weekly to live in a series of motels.

         352.   Ms. Bledsoe required him to regularly update her as to where he was living, so he

regularly informed her that he was homeless throughout his probation period.

         353.   Mr. Gray does not remember ever being offered a supervision fee waiver or

reduction by Ms. Bledsoe or PSI.




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       354.    Mr. Gray has made small payments to PSI for his supervision fees, but he has been

unable to pay the majority of his fees and any of his court costs.

       355.    Despite the fact that Mr. Gray’s charge was not related to drugs, he was drug tested

while he was on probation. He was forced to take the drug test while someone was listening

through the door. It was a humiliating experience.

       356.    Ms. Bledsoe insisted that Mr. Gray could not leave the state unless he obtained

permission from her first.

       357.    Eventually, Mr. Gray obtained a temporary job through an agency in

Lawrenceburg, TN. He has held that job continuously since, and he now earns approximately

$1,600 per month before taxes.

       358.    On November 4, 2020, Ms. Bledsoe, acting in her capacity as Mr. Gray’s PSI

probation officer, alleged that Mr. Gray had violated the terms of his probation solely because he

had not completed paying his court costs. When seeking the warrant, Ms. Bledsoe did not provide

any information about the reasons Mr. Gray did not pay all of his fees and costs, including his

struggles with housing and employment.

       359.    Because of court closures related to the COVID-19 pandemic, Mr. Gray still has

not had a court hearing on the pending alleged violation of his probation. Mr. Gray is scheduled to

appear before Giles County General Sessions Judge Richardson on April 27, 2021 to resolve the

pending alleged violation of probation for nonpayment only.

       360.    Ms. Bledsoe has told Mr. Gray that he must remain on supervised probation with

PSI until the violation of probation matter is resolved.

VII.   CLASS ACTION ALLEGATIONS

       361.    The named Plaintiffs bring this action as a Class Action pursuant to Rules 23(a),

23(b)(2), and Rule 23(b)(3) of the Federal Rules of Civil Procedure.


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         B.       Class Definitions

         362.     The Classes are defined as follows:

                  a.       Damages Class

         All persons who, since April 23, 2014, and until the trial of this cause, (1) have incurred

court-imposed financial obligations arising from a traffic or misdemeanor case in Giles County

General Sessions or Circuit Court; and (2) have been assigned to be supervised on probation in

that case by Community Probation Services, LLC, Progressive Sentencing, Inc., PSI-Probation II,

LLC, PSI-Probation, L.L.C., or Tennessee Correctional Services, LLC.

                  b.       Declaratory and/or Injunctive Relief Class 18

         All persons who, at any time since April 23, 2014, (1) have incurred, or will incur, court-

imposed financial obligations arising from a traffic or misdemeanor case in Giles County General

Sessions or Circuit Court; and (2) are currently being supervised, or will be supervised, on

probation in that case by Community Probation Services, LLC, Progressive Sentencing, Inc., PSI-

Probation II, LLC, PSI Probation, L.L.C., or Tennessee Correctional Services, LLC.

         363.     The names, case numbers, probation documents, dates of imprisonment, financial

receipts, and relevant records of the class members are in Defendants’ possession and are easily

ascertainable.

         C.       The Prerequisites of Rule 23(a) Are Satisfied

         364.     Numerosity. The requirements of Rule 23(a)(1) are satisfied in that there are too

many Class Members for joinder of all of them to be practicable. On information and belief, the

Declaratory and Injunctive Class includes over 200 members at any given time, and the Damages


18
  Named Plaintiffs Indya Hilfort and Victor Gray seek certification of this Declaratory and/or Injunctive Relief Class.
Even in the event that Plaintiffs Hilfort and Gray complete their probation sentences while this action is pending, they
may nonetheless continue to advance the interests of such a class. See U.S. Parole Comm’n v. Geraghty, 445 U.S.
388, 398 (1980). Those who still owe debts to Defendants or who will incur such debts will be subjected to the same
material ongoing policies and practices absent the relief sought in this Complaint.


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Class includes thousands of members. The Classes, as defined above, meet the numerosity

requirement.

       365.    Commonality. The claims of the Class members raise numerous common issues of

fact and/or law, thereby satisfying the requirements of Rule 23(a)(2). These common legal and

factual questions—the answers to which will drive resolution of the litigation—may be determined

without the necessity of resolving individualized factual disputes concerning any Class Member,

and include, but are not limited to, the following questions:

       Common Questions

               a.      Whether Giles County’s decision to abandon the tradition of engaging a

neutral probation officer and instead contract with a for-profit, user-funded probation officer that

has the same duties and powers of a traditional probation officer and also has a personal financial

interest in the management and outcome of every case it supervises violates federal law;

               b.      Whether a contract creating a probation company with a direct financial

stake in the management and outcome of every probationer’s case it supervises violates state law;

               c.      Whether a government and private actors can place and keep people on

onerous probation plans that involve extra fees and serious intrusions on liberty based on a person’s

poverty;

               d.      Whether a government and a private company, working together, can

circumvent state debt-collection protections and engage in practices that no private creditor could

lawfully undertake;

               e.      Whether it is lawful to use legal process purportedly concerning probation

violation and probation judgments with a motive to earn profit;




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                f.      Whether the policies and practices of the Private Defendants violate the

constitutional and statutory rights of Plaintiffs and the putative classes;

                g.      Whether Defendants have imposed imprisonment, repeated threats of

imprisonment, onerous probation conditions, revocation or withholding of drivers’ licenses,

intrusive drug tests, extra fees, and other restrictions on individuals’ liberty;

                h.      Whether Defendants have placed and kept individuals on supervised

probation solely because they could not afford to pay their court debts and probation fees without

an inquiry to determine whether or not their failure to pay was willful;

                i.      Whether Defendants have failed to inform probationers of their right to a

determination by a neutral officer of probationers’ ability to pay court costs, fines, and fees;

                j.      Whether Defendants have taken and converted to their own use monetary

payments to which they had no legal right;

                k.      Whether Giles County has a policy and practice of using a predetermined

schedule to determine the amount of money required to secure post-arrest release;

                l.      Whether Giles County requires that scheduled amount of money to be paid

up front before it will release a person from its jail;

                m.      Whether, when, and how any official considers or determines what

conditions of pretrial release should be and whether, for example, any official considers ability to

pay, makes findings concerning ability to pay, and offers non-financial conditions of release for

those unable to pay;

                n.      What standard post-arrest procedures Giles County performs on

misdemeanor arrestees; for example, whether Giles County uses any other alternate procedures for




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promptly releasing indigent people determined otherwise eligible for release but who are unable

to afford a monetary payment;

                o.      Whether a secured “bail schedule” setting generic amounts of money

required up front to avoid post-arrest detention without any inquiry or findings into a person’s

ability to pay violates the Fourteenth Amendment’s due process and equal protection provisions;

and

                p.      Whether Defendants have sought arrest warrants and probation revocation

judgments with an ulterior motive to collect additional fees.

        366.    These and numerous other common legal and factual questions arise from one

central scheme and set of policies and practices: the for-profit contractual relationships between

the County and the companies that govern misdemeanor probation supervision practices. The

Defendants operate this scheme openly and in materially the same manner every day. The material

components of the scheme do not vary from Class member to Class member, and the resolution of

these legal and factual issues will determine whether all of the members of the classes are entitled

to the constitutional relief that they seek.

        367.    Typicality. The claims of the named Plaintiffs are typical of the unnamed Class

members because they have a common factual source and rest upon the same legal and remedial

theories, thereby satisfying the requirements of Rule 23(a)(3). For example, the named Plaintiffs’

claims are typical of the claims of the Class because Plaintiffs and all Class members were injured

by the same wrongful practices in which Defendants engaged, namely failing to comply with the

basic constitutional and statutory provisions detailed below.

        368.    Adequacy of Representation. The requirements of Rule 23(a)(4) are satisfied in

that each named Plaintiff has a sufficient stake in the litigation to prosecute its claims vigorously




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on behalf of the Class members, and each named Plaintiff’s interests are aligned with those of the

proposed Classes. There are no defenses of a unique nature that may be asserted against any named

Plaintiff individually, as distinguished from the other members of the Classes, and the relief sought

is common to the Classes. No named Plaintiff has any interest that is in conflict with or is

antagonistic to the interests of the members of the Class, and no named Plaintiff has any conflict

with any other member of the Class. Plaintiffs have retained competent counsel experienced in

class action litigation to represent them and the Classes in this litigation.

       369.    Plaintiffs are represented by attorneys from Civil Rights Corps and Hughes Socol

Piers Resnick & Dym Ltd., Barrett Johnston Martin & Garrison, LLC, and Attorney Kyle

Mothershead, all of whom have experience litigating complex civil rights matters in federal court

and extensive knowledge of both the details of Defendants’ scheme and the relevant

constitutional and statutory law.

       370.    Counsel have devoted a significant amount of time and resources to becoming

intimately familiar with Defendants’ scheme and with all of the relevant state and federal laws and

procedures that can and should govern it.

       371.    The interests of the members of the Classes will be fairly and adequately protected

by the Plaintiffs and their attorneys.

       D.      The Prerequisites of Rule 23(b)(2) and (b)(3) Are Satisfied

       372.    Class action status is appropriate because the Defendants, through the policies,

practices, and procedures that make up their probation and debt-collection scheme, have acted

and/or refused to act on grounds generally applicable to the Declaratory/Injunctive Class. Thus, a

declaration that people in the Declaratory/Injunctive Class are entitled, as a matter of federal law,

to a neutral probation officer without a personal financial conflict of interest in their cases would

benefit every member of the proposed Class. The same applies to legal rulings on the other claims,


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including: that the Contracts are void; that the arrangement and the Defendants’ policies violate

the Equal Protection Clause by imposing onerous probation conditions due to poverty and by

imposing debt-collection methods far more onerous than any private creditor could lawfully

impose; that CPS and PSI abuse process by commandeering specific legal processes for the ulterior

motive of earning profit; and that the policy, pattern, and practice of threatening to arrest and jail

people for nonpayment (and actually doing so), and threatening to revoke and extend their

supervised probation term (and actually doing so), without informing them of their rights or

inquiring into their ability to pay constitutes an extortion enterprise in blatant violation of

racketeering laws.

       373.    Injunctive relief compelling the Defendants to comply with Plaintiffs’

constitutional and statutory rights will similarly protect each member of the Declaratory/Injunctive

Class from being again subjected to the Defendants’ unlawful policies and practices with respect

to the debts that they still owe and protect those who will incur such debts in the future from the

same unconstitutional conduct. Therefore, declaratory and injunctive relief with respect to the

Class seeking equitable relief is appropriate.

       374.    Class treatment under Rule 23(b)(3) is also appropriate because common questions

of law and fact predominate in this case. This case turns, for every Plaintiff, on what Defendants’

policies and practices are and on whether those policies are lawful.

       375.    The common questions of law and fact listed above are dispositive questions in the

case of every member of the Damages Class. The question of liability can therefore be determined

on a class-wide basis. Class-wide treatment of liability is a far superior method of determining the

content and legality of the Defendants’ policies and practices than individual suits by hundreds or

thousands of Giles County residents. To the extent that individual damages will vary, they will




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vary depending in large part on the amount of time that a person was subjected to the unlawful

scheme and the amount of money extorted from them. Determining damages for individual class

members can thus typically be handled in a ministerial fashion based on easily verifiable records

in the Defendants’ possession. If need be, individual hearings on class-member specific damages

based on special circumstances and particular hardships endured as a result of Defendants’

extortion scheme can be held after class-wide liability is determined—a method far more efficient

than the wholesale litigation of hundreds or thousands of individual lawsuits.

       376.    Plaintiffs make the following claims, and seek the following relief and hereby

demand a jury trial in this cause for all matters so appropriate.

VIII. CLAIMS


                                     COUNT 1: DISMISSED



                                     COUNT 2: DISMISSED



                                     COUNT 3: DISMISSED



                                     COUNT 4: DISMISSED


                                            COUNT 5:

  The Use of a Private Actor With a Personal Financial Stake in the Outcome of Judicial
Proceedings and Probation Case Decisions Violates Plaintiffs’ Right to a Neutral Probation
          Officer Under the Due Process Clause of the Fourteenth Amendment.

 Brought under 42 U.S.C. § 1983 by Named Plaintiffs Karen McNeil, Lesley Johnson, and
Indya Hilfort on behalf of themselves and all others similarly situated against Giles County
                                       for damages.

       377.    Plaintiffs incorporate by reference the allegations in paragraphs 1–376.



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         378.     Defendants, under color of state law, caused Plaintiffs, citizens of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiffs bring this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

         379.     CPS, its employees, and Giles County enacted policies, customs, and/or procedures

that permit non-neutral actors with direct pecuniary interests in the outcome of probationers’ cases

to dictate the outcomes of those cases. As a direct result of the policies, customs, and/or procedures

enacted by these Defendants, Plaintiffs are unfairly deprived of their constitutional right to due

process of law under the United States Constitution. See U.S. Const. amend. XIV § 1.

         380.     The Due Process Clause of the Fourteenth Amendment prohibits government

officials exercising judicial or enforcement functions from having a personal financial interest in

the cases prosecuted and decided by them in our legal system. The County has contracted with

two private, for-profit corporations to perform a traditional court function—probation—and,

critically, made the resolution of Plaintiffs’ cases contingent on the demands, advice,

recommendations, discretionary decisions, enforcement actions, testimony, and representations of

these private entities.

         381.     Under the Defendant County and Defendant companies’ scheme, CPS and its

employees can both influence what conditions are imposed for people assigned to them for

supervision, determine whether and when those conditions have been violated, and decide whether

and when to initiate revocation proceedings. 19 They can make rules and determine whether and

when to petition for revocation based on technical or perceived violations of those rules or other



19
  As noted earlier, people kept on supervised probation because they cannot afford to pay their court debts in full are
also forced to abide by additional restrictions on their liberty, which the Defendants call conditions of probation, and
which are imposed solely because of individuals’ wealth status.


                                    80
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conditions. Then, the companies serve as the main witness at the violation proceedings, and often

the allegations of employees of the companies are treated as evidence. Finally, the companies

meet privately with the district attorney and the judge and recommend a resolution or sanction in

the case. These recommendations include whether the person should be placed back on supervised

probation for an extended period of time (and charged additional fees) and/or jailed.

       382.    In contrast to the longstanding, traditional role of the probation officer—such as the

role performed by Tennessee State Probation Officers and United States Probation Officers—the

companies and their employees have a direct financial stake in every decision they make regarding

case supervision, enforcement of conditions and rules, and revocation of probation.                The

companies have a personal financial interest in conducting their functions as probation officers in

a way that maximizes their personal profit and not as neutral public court officers.

       383.    Because these non-neutral actors profit significantly from the decisions about

whether to place and keep people on supervised probation, what conditions to require, what

information to provide probationers about their rights and obligations, how to enforce those

conditions, what testimony to provide before and during revocation hearings, and what sanction to

recommend—including extending the person’s term on supervised probation, there is a clear risk

that those financial interests will affect its judgment when it participates in those decisions.

       384.    There is also overwhelming evidence that these financial interests have had and

continue to have an impact on every decision the Private Defendants make. Because these private

entities have a significant personal financial interest in how these cases are managed and resolved,

unlike a traditional neutral judicial actor, prosecuting authority, or probation department, the

County’s and companies’ policies and practices violate the longstanding due process restrictions

against such self-interested financial arrangements in American courts of justice.




                                    81
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       385.    Defendants directly and proximately caused these violations of Plaintiffs’ rights.

Defendants knew or reasonably should have known that depriving people of property under color

of law, without due process or legal authority for the deprivation, violated Plaintiffs’ constitutional

rights. Defendants caused, authorized, condoned, ratified, approved, and knowingly participated

in the policies and practices as described above.

       386.    Defendants’ actions were willful, deliberate, and malicious, and involved reckless

or callous indifference to Plaintiffs’ rights, and should be punished and deterred by an award of

punitive or enhanced damages against Defendants as permitted by law.

                                             COUNT 6:

  The Use of a Private Actor With a Personal Financial Stake in the Outcome of Judicial
Proceedings and Probation Case Decisions Violates Plaintiff’s Right to a Neutral Probation
          Officer Under the Due Process Clause of the Fourteenth Amendment.

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Indya Hilfort on behalf of herself and
      all others similarly situated against CPS and Giles County for equitable relief.

       387.    Plaintiff incorporates by reference the allegations in paragraphs 1–386.

       388.    Defendants, under color of state law, caused Plaintiff, a citizen of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiff brings this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

       389.    CPS, its employees, and Giles County enacted policies, customs, and/or procedures

that permit non-neutral actors with direct pecuniary interests in the outcome of probationers’ cases

to dictate the outcomes of those cases. As a direct result of the policies, customs, and/or procedures

enacted by these Defendants, Plaintiff is unfairly deprived of their constitutional right to due

process of law under the United States Constitution. See U.S. Const. amend. XIV § 1.




                                    82
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         390.     The Due Process Clause of the Fourteenth Amendment prohibits government

officials exercising judicial or enforcement functions from having a personal financial interest in

the cases prosecuted and decided by them in our legal system. The County has contracted with

two private, for-profit corporations to perform a traditional court function—probation—and,

critically, made the resolution of Plaintiff’s case contingent on the demands, advice,

recommendations, discretionary decisions, enforcement actions, testimony, and representations of

these private entities.

         391.     Under the Defendant County and Defendant companies’ scheme, CPS and its

employees can both influence what conditions are imposed for people assigned to them for

supervision, determine whether and when those conditions have been violated, and decide whether

and when to initiate revocation proceedings. 20 They can make rules and determine whether and

when to petition for revocation based on technical or perceived violations of those rules or other

conditions. Then, the companies serve as the main witness at the violation proceedings, and often

the allegations of employees of the companies are treated as evidence. Finally, the companies

meet privately with the district attorney and the judge and recommend a resolution or sanction in

the case. These recommendations include whether the person should be placed back on supervised

probation for an extended period of time (and charged additional fees) and/or jailed.

         392.     In contrast to the longstanding, traditional role of the probation officer—such as the

role performed by Tennessee State Probation Officers and United States Probation Officers—the

companies and their employees have a direct financial stake in every decision they make regarding

case supervision, enforcement of conditions and rules, and revocation of probation.                                The



20
  As noted earlier, people kept on supervised probation because they cannot afford to pay their court debts in full are
also forced to abide by additional restrictions on their liberty, which the Defendants call conditions of probation, and
which are imposed solely because of individuals’ wealth status.


                                    83
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companies have a personal financial interest in conducting their functions as probation officers in

a way that maximizes their personal profit and not as neutral public court officers.

       393.    Because these non-neutral actors profit significantly from the decisions about

whether to place and keep people on supervised probation, what conditions to require, what

information to provide probationers about their rights and obligations, how to enforce those

conditions, what testimony to provide before and during revocation hearings, and what sanction to

recommend—including extending the person’s term on supervised probation, there is a clear risk

that those financial interests will affect its judgment when it participates in those decisions.

       394.    There is also overwhelming evidence that these financial interests have had and

continue to have an impact on every decision the Private Defendants make. Because these private

entities have a significant personal financial interest in how these cases are managed and resolved,

unlike a traditional neutral judicial actor, prosecuting authority, or probation department, the

County’s and companies’ policies and practices violate the longstanding due process restrictions

against such self-interested financial arrangements in American courts of justice.

       395.    Defendants directly and proximately caused these violations of Plaintiff’s rights.

Defendants knew or reasonably should have known that depriving someone of property under

color of law, without due process or legal authority for the deprivation, violated Plaintiff’s

constitutional rights. Defendants caused, authorized, condoned, ratified, approved, and knowingly

participated in the policies and practices as described above.

       396.    Defendants’ actions were willful, deliberate, and malicious, and involved reckless

or callous indifference to Plaintiff’s rights, and should be punished and deterred by an award of

punitive or enhanced damages against Defendants as permitted by law.




                                    84
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                                             COUNT 7:

  The Use of a Private Actor With a Personal Financial Stake in the Outcome of Judicial
Proceedings and Probation Case Decisions Violates Plaintiffs’ Right to a Neutral Probation
          Officer Under the Due Process Clause of the Fourteenth Amendment.

 Brought under 42 U.S.C. § 1983 by Named Plaintiffs Lucinda Brandon, Victor Gray, and
   Tanya Mitchell (through her estate) on behalf of themselves and all others similarly
                  situated against PSI and Giles County for damages.

        397.    Plaintiffs incorporate by reference the allegations in paragraphs 1–396.

        398.    Defendants, under color of state law, caused Plaintiffs, citizens of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiffs bring this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

        399.    PSI, its employees, and Giles County enacted policies, customs, and/or procedures

that permit non-neutral actors with direct pecuniary interests in the outcome of probationers’ cases

to dictate the outcomes of those cases. As a direct result of the policies, customs, and/or procedures

enacted by these Defendants, Plaintiffs are unfairly deprived of their constitutional right to due

process of law under the United States Constitution. See U.S. Const. amend. XIV § 1.

        400.    The Due Process Clause of the Fourteenth Amendment prohibits government

officials exercising judicial or enforcement functions from having a personal financial interest in

the cases prosecuted and decided by them in our legal system. The County has contracted with

two private, for-profit corporations to perform a traditional court function—probation—and,

critically, made the resolution of Plaintiffs’ cases contingent on the demands, advice,

recommendations, discretionary decisions, enforcement actions, testimony, and representations of

these private entities.

        401.    Under the Defendant County and Defendant companies’ scheme, PSI and their

employees can both influence what conditions are imposed for people assigned to them for


                                    85
Case 1:18-cv-00033 Document 440 Filed 04/30/21 Page 87 of 115 PageID #: 12554
supervision, determine whether and when those conditions have been violated, and decide whether

and when to initiate revocation proceedings. 21 They can make rules and determine whether and

when to petition for revocation based on technical or perceived violations of those rules or other

conditions. Then, the companies serve as the main witness at the violation proceedings, and often

the allegations of employees of the companies are treated as evidence. Finally, the companies

meet privately with the district attorney and the judge and recommend a resolution or sanction in

the case. These recommendations include whether the person should be placed back on supervised

probation for an extended period of time (and charged additional fees) and/or jailed.

         402.     In contrast to the longstanding, traditional role of the probation officer—such as the

role performed by Tennessee State Probation Officers and United States Probation Officers—the

companies and their employees have a direct financial stake in every decision they make regarding

case supervision, enforcement of conditions and rules, and revocation of probation.                                The

companies have a personal financial interest in conducting their functions as probation officers in

a way that maximizes their personal profit and not as neutral public court officers.

         403.     Because these non-neutral actors profit significantly from the decisions about

whether to place and keep people on supervised probation, what conditions to require, what

information to provide probationers about their rights and obligations, how to enforce those

conditions, what testimony to provide before and during revocation hearings, and what sanction to

recommend—including extending the person’s term on supervised probation, there is a clear risk

that those financial interests will affect its judgment when it participates in those decisions.




21
  As noted earlier, people kept on supervised probation because they cannot afford to pay their court debts in full are
also forced to abide by additional restrictions on their liberty, which the Defendants call conditions of probation, and
which are imposed solely because of individuals’ wealth status.


                                    86
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          404.   There is also overwhelming evidence that these financial interests have had and

continue to have an impact on every decision the Private Defendants make. Because these private

entities have a significant personal financial interest in how these cases are managed and resolved,

unlike a traditional neutral judicial actor, prosecuting authority, or probation department, the

County’s and companies’ policies and practices violate the longstanding due process restrictions

against such self-interested financial arrangements in American courts of justice.

          405.   Defendants directly and proximately caused these violations of Plaintiffs’ rights.

Defendants knew or reasonably should have known that depriving people of property under color

of law, without due process or legal authority for the deprivation, violated Plaintiffs’ constitutional

rights.

          406.   Defendants’ actions were willful, deliberate, and malicious, and involved reckless

or callous indifference to Plaintiffs’ rights, and should be punished and deterred by an award of

punitive or enhanced damages against Defendants as permitted by law.

                                              COUNT 8:

  The Use of a Private Actor With a Personal Financial Stake in the Outcome of Judicial
Proceedings and Probation Case Decisions Violates Plaintiff’s Right to a Neutral Probation
          Officer Under the Due Process Clause of the Fourteenth Amendment.

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Victor Gray on behalf of himself and
      all others similarly situated against PSI and Giles County for equitable relief.

          407.   Plaintiff incorporates by reference the allegations in paragraphs 1–406.

          408.   Defendants, under color of state law, caused Plaintiff, a citizen of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiff brings this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).




                                    87
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         409.     PSI, its employees, and Giles County enacted policies, customs, and/or procedures

that permit non-neutral actors with direct pecuniary interests in the outcome of probationers’ cases

to dictate the outcomes of those cases. As a direct result of the policies, customs, and/or procedures

enacted by these Defendants, Plaintiff is unfairly deprived of her constitutional right to due process

of law under the United States Constitution. See U.S. Const. amend. XIV § 1.

         410.     The Due Process Clause of the Fourteenth Amendment prohibits government

officials exercising judicial or enforcement functions from having a personal financial interest in

the cases prosecuted and decided by them in our legal system. The County has contracted with

two private, for-profit corporations to perform a traditional court function—probation—and,

critically, made the resolution of Plaintiff’s case contingent on the demands, advice,

recommendations, discretionary decisions, enforcement actions, testimony, and representations of

these private entities.

         411.     Under the Defendant County and Defendant companies’ scheme, PSI and its

employees can both influence what conditions are imposed for people assigned to them for

supervision, determine whether and when those conditions have been violated, and decide whether

and when to initiate revocation proceedings. 22 They can make rules and determine whether and

when to petition for revocation based on technical or perceived violations of those rules or other

conditions. Then, the companies serve as the main witness at the violation proceedings, and often

the allegations of employees of the companies are treated as evidence. Finally, the companies

meet privately with the district attorney and the judge and recommend a resolution or sanction in




22
  As noted earlier, people kept on supervised probation because they cannot afford to pay their court debts in full are
also forced to abide by additional restrictions on their liberty, which the Defendants call conditions of probation, and
which are imposed solely because of individuals’ wealth status.


                                    88
Case 1:18-cv-00033 Document 440 Filed 04/30/21 Page 90 of 115 PageID #: 12557
the case. These recommendations include whether the person should be placed back on supervised

probation for an extended period of time (and charged additional fees) and/or jailed.

       412.    In contrast to the longstanding, traditional role of the probation officer—such as the

role performed by Tennessee State Probation Officers and United States Probation Officers—the

companies and their employees have a direct financial stake in every decision they make regarding

case supervision, enforcement of conditions and rules, and revocation of probation.                The

companies have a personal financial interest in conducting their functions as probation officers in

a way that maximizes their personal profit and not as neutral public court officers.

       413.    Because these non-neutral actors profit significantly from the decisions about

whether to place and keep people on supervised probation, what conditions to require, what

information to provide probationers about their rights and obligations, how to enforce those

conditions, what testimony to provide before and during revocation hearings, and what sanction to

recommend—including extending the person’s term on supervised probation, there is a clear risk

that those financial interests will affect its judgment when it participates in those decisions.

       414.    There is also overwhelming evidence that these financial interests have had and

continue to have an impact on every decision the Private Defendants make. Because these private

entities have a significant personal financial interest in how these cases are managed and resolved,

unlike a traditional neutral judicial actor, prosecuting authority, or probation department, the

County’s and companies’ policies and practices violate the longstanding due process restrictions

against such self-interested financial arrangements in American courts of justice.

       415.    Defendants directly and proximately caused these violations of Plaintiff’s rights.

Defendants knew or reasonably should have known that depriving someone of property under




                                    89
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color of law, without due process or legal authority for the deprivation, violated Plaintiff’s

constitutional rights.

        416.    Defendants’ actions were willful, deliberate, and malicious, and involved reckless

or callous indifference to Plaintiff’s rights, and should be punished and deterred by an award of

punitive or enhanced damages against Defendants as permitted by law.

                                             COUNT 9:

Defendants’ Use of Jail, Threats of Jail, and an Onerous Probation System to Collect Debts
Owed to the County Violates Equal Protection and Due Process Because It Imposes Unduly
    Harsh and Punitive Restrictions on Debtors Whose Creditor is the Government As
               Compared to Those Who Owe Money to Private Creditors

 Brought under 42 U.S.C. § 1983 by Named Plaintiffs Karen McNeil, Lesley Johnson, and
Indya Hilfort on behalf of themselves and all others similarly situated against Giles County
                                       for damages.

        417.    Plaintiffs incorporate by reference the allegations in paragraphs 1–416.

        418.    Defendants, under color of state law, caused Plaintiffs, citizens of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiffs bring this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

        419.    The United States Supreme Court has held that when governments seek to recoup

costs from indigent defendants, they may not take advantage of their position—including their

access to police, jails, and courts of law—to engage in unduly restrictive methods of collection

solely because the debt is owed to the government and not to a private creditor. See James v.

Strange, 407 U.S. 128 (1972).

        420.    Defendants enacted policies, customs, and/or procedures that coerced payment of

debts owed to the government. Not only do the County and the company keep indigent people on

standard and overly onerous probation supervision lasting years, but by imposing imprisonment,



                                    90
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repeated threats of imprisonment, onerous probation conditions, revoked or suspended drivers’

licenses, 23 intrusive drug tests, extra fees, and other restrictions on Plaintiffs’ liberty, the County

and the company take advantage of their control over the machinery of the County jail, and the

prosecutorial, court, and police systems, to deny debtors the statutory protections that every other

Tennessee debtor may invoke against a private creditor. The County deprives Plaintiffs of these

protections even though Tennessee law explicitly states that the debts owed to the County are

subject to Tennessee law on civil judgments.

         421.     Many people like the Plaintiffs who owe money to the County have to borrow

money, ration public benefits, convert federal means-tested disability checks into money orders to

pay the company, and go further into debt to make the payments Defendants demand. Other non-

government creditors are not permitted to jail debtors, threaten to jail them, or compel their

repeated arrest and court appearances for years for nonpayment.

         422.     Defendants’ coercive debt-collection system constitutes invidious discrimination

and violates fundamental principles of equal protection of the laws.

                                                   COUNT 10:

Defendants’ Use of Jail, Threats of Jail, and an Onerous Probation System to Collect Debts
Owed to the County Violates Equal Protection and Due Process Because It Imposes Unduly
    Harsh and Punitive Restrictions on Debtors Whose Creditor is the Government As
               Compared to Those Who Owe Money to Private Creditors

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Indya Hilfort on behalf of herself and
          all others similarly situated against Giles County for equitable relief.

         423.     Plaintiff incorporates by reference the allegations in paragraphs 1–422.



23
  It is the policy and practice of the County to initiate the revocation and suspension, and subsequently prevent the
reinstatement, of Tennessee driving privileges for unpaid court debt and traffic debt, respectively, without informing
debtors of any legal mechanism to avoid this consequence because of their inability to pay. This practice is the subject
of two lawsuits filed by undersigned counsel in the Middle District of Tennessee. Thomas, et al. v. Haslam, et al.,
Case No. 3:17-cv-00005 (court debt) and Robinson, et al. v. Purkey, et al., Case No. 3:17-cv-01263 (traffic debt)


                                    91
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         424.     Defendants, under color of state law, caused Plaintiff, a citizen of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiff brings this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

         425.     The United States Supreme Court has held that, when governments seek to recoup

costs from indigent defendants, they may not take advantage of their position—including their

access to police, jails, and courts of law—to engage in unduly restrictive methods of collection

solely because the debt is owed to the government and not to a private creditor. See James v.

Strange, 407 U.S. 128 (1972).

         426.     Defendants enacted policies, customs, and/or procedures that coerce payment of

debts owed to the government. Not only do the County and the company keep indigent people on

standard and overly onerous probation supervision lasting years, but by imposing imprisonment,

repeated threats of imprisonment, onerous probation conditions, revoked or withheld drivers’

licenses, 24 intrusive drug tests, extra fees, and other restrictions on Plaintiff’s liberty, the County

and the company take advantage of their control over the machinery of the County jail, and the

prosecutorial, court, and police systems, to deny debtors the statutory protections that every other

Tennessee debtor may invoke against a private creditor. The County deprives Plaintiff of these

protections even though Tennessee law explicitly states that the debts owed to the County are

subject to Tennessee law on civil judgments.




24
   It is the policy and practice of the County to initiate the revocation and suspension, and subsequently prevent the
reinstatement, of Tennessee driving privileges for unpaid court debt and traffic debt, respectively, without informing
court debtors of any legal mechanism to avoid this consequence because of their inability to pay. This practice is the
subject of two lawsuits filed by undersigned counsel in the Middle District of Tennessee. Thomas, et al. v. Haslam,
et al., Case No. 3:17-cv-00005 (court debt) and Robinson, et al. v. Purkey, et al., Case No. 3:17-cv-01263 (traffic
debt).


                                    92
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       427.    Many people like the Plaintiff who owe money to the County have to borrow

money, ration public benefits, convert federal means-tested disability checks into money orders to

pay the company, and go further into debt to make the payments Defendants demand. Other non-

government creditors are not permitted to jail debtors, threaten to jail them, or compel their

repeated arrest and court appearances for years for nonpayment.

       428.    Defendants’ coercive debt-collection system constitutes invidious discrimination

and violates fundamental principles of equal protection of the laws.

                                           COUNT 11:

Defendants’ Use of Jail, Threats of Jail, and an Onerous Probation System to Collect Debts
Owed to the County Violates Equal Protection and Due Process Because It Imposes Unduly
    Harsh and Punitive Restrictions on Debtors Whose Creditor is the Government As
               Compared to Those Who Owe Money to Private Creditors

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Lucinda Brandon, Victor Gray, and
   Tanya Mitchell (through her estate) on behalf of themselves and all others similarly
                      situated against Giles County for damages.

       429.    Plaintiffs incorporate by reference the allegations in paragraphs 1–428.

       430.    Defendants, under color of state law, caused Plaintiffs, citizens of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiffs bring this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

       431.    The United States Supreme Court has held that, when governments seek to recoup

costs from indigent defendants, they may not take advantage of their position—including their

access to police, jails, and courts of law—to engage in unduly restrictive methods of collection

solely because the debt is owed to the government and not to a private creditor. See James v.

Strange, 407 U.S. 128 (1972).




                                    93
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         432.     Defendants enacted policies, customs, and/or procedures that coerce payment of

debts owed to the government. Not only do the County and the company keep indigent people on

standard and overly onerous probation supervision lasting years, but by imposing imprisonment,

repeated threats of imprisonment, onerous probation conditions, revoked or withheld drivers’

licenses, 25 intrusive drug tests, extra fees, and other restrictions on Plaintiffs’ liberty, the County

and the company take advantage of their control over the machinery of the County jail, and the

prosecutorial, court, and police systems, to deny debtors the statutory protections that every other

Tennessee debtor may invoke against a private creditor. The County deprives Plaintiffs of these

protections even though Tennessee law explicitly states that the debts owed to the County are

subject to Tennessee law on civil judgments.

         433.     Many people like the Plaintiffs who owe money to the County have to borrow

money, ration public benefits, convert federal means-tested disability checks into money orders to

pay the company, and go further into debt to make the payments Defendants demand. Other non-

government creditors are not permitted to jail debtors, threaten to jail them, or compel their

repeated arrest and court appearances for years for nonpayment.

         434.     Defendants’ coercive debt-collection system constitutes invidious discrimination

and violates fundamental principles of equal protection of the laws.




25
   It is the policy and practice of the County to initiate the revocation and suspension, and subsequently prevent the
reinstatement, of Tennessee driving privileges for unpaid court debt and traffic debt, respectively, without informing
debtors of any legal mechanism to avoid this consequence because of their inability to pay. This practice is the subject
of two lawsuits filed by undersigned counsel in the Middle District of Tennessee. Thomas, et al. v. Haslam, et al.,
Case No. 3:17-cv-00005 (court debt) and Robinson, et al. v. Purkey, et al., Case No. 3:17-cv-01263 (traffic debt).


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                                                   COUNT 12:

Defendants’ Use of Jail, Threats of Jail, and an Onerous Probation System to Collect Debts
Owed to the County Violates Equal Protection and Due Process Because It Imposes Unduly
    Harsh and Punitive Restrictions on Debtors Whose Creditor is the Government As
               Compared to Those Who Owe Money to Private Creditors

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Victor Gray on behalf of himself and
          all others similarly situated against Giles County for equitable relief.

         435.     Plaintiff incorporates by reference the allegations in paragraphs 1–434.

         436.     Defendants, under color of state law, caused Plaintiff, a citizen of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiff brings this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

         437.     The United States Supreme Court has held that, when governments seek to recoup

costs from indigent defendants, they may not take advantage of their position—including their

access to police, jails, and courts of law—to engage in unduly restrictive methods of collection

solely because the debt is owed to the government and not to a private creditor. See James v.

Strange, 407 U.S. 128 (1972).

         438.     Defendants enacted policies, customs, and/or procedures that coerce payment of

debts owed to the government. Not only do the County and the company keep indigent people on

standard and overly onerous probation supervision lasting years, but by imposing imprisonment,

repeated threats of imprisonment, onerous probation conditions, revoked or withheld drivers’

licenses, 26 intrusive drug tests, extra fees, and other restrictions on Plaintiff’s liberty, the County



26
  It is the policy and practice of the County to initiate the revocation and suspension, and subsequently prevent the
reinstatement, of Tennessee driving privileges for unpaid court debt and traffic debt, respectively, without informing
debtors of any legal mechanism to avoid this consequence because of their inability to pay. This practice is the subject
of two lawsuits filed by undersigned counsel in the Middle District of Tennessee. Thomas, et al. v. Haslam, et al.,
Case No. 3:17-cv-00005 (court debt) and Robinson, et al. v. Purkey, et al., Case No. 3:17-cv-01263 (traffic debt).


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and the company take advantage of their control over the machinery of the County jail, and the

prosecutorial, court, and police systems, to deny debtors the statutory protections that every other

Tennessee debtor may invoke against a private creditor. The County deprives Plaintiff of these

protections even though Tennessee law explicitly states that the debts owed to the County are

subject to Tennessee law on civil judgments.

       439.    Many people like the Plaintiff who owe money to the County have to borrow

money, ration public benefits, convert federal means-tested disability checks into money orders to

pay the company, and go further into debt to make the payments Defendants demand. Other non-

government creditors are not permitted to jail debtors, threaten to jail them, or compel their

repeated arrest and court appearances for years for nonpayment.

       440.    Defendants’ coercive debt-collection system constitutes invidious discrimination

and violates fundamental principles of equal protection of the laws.

                                           COUNT 13:

 Defendants Violate Equal Protection and Due Process by Placing and Keeping People on
    Supervised Probation Solely Because They Cannot Afford to Pay Court Debts and
                              Probation Supervision Fees

 Brought under 42 U.S.C. § 1983 by Named Plaintiffs Karen McNeil, Lesley Johnson, and
Indya Hilfort on behalf of themselves and all others similarly situated against Giles County
                                       for damages

       441.    Plaintiffs incorporate by reference the allegations in paragraphs 1–440.

       442.    Defendants, under color of state law, caused Plaintiffs, citizens of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and

the laws of the United States, without due process of law. Plaintiffs bring this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

       443.    Giles County and the Private Defendants have a policy and practice of placing and

keeping individuals on supervised probation with the CPS Defendants solely because they cannot


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afford to pay their court debts and probation fees, without an inquiry to determine whether the

failure to pay was willful. If a probationer can afford to pay her court debts in full, she will not be

subjected to supervised probation by the private companies (sometimes, Defendants permit a

probationer to purchase her way off of supervised probation only after a minimum period of time,

typically four months, on supervised probation has passed). If the person is too poor to pay, the

County and the Private Defendants have a policy and practice of keeping that person on supervised

probation, including forcing the person to abide by conditions agreed upon by the companies and

the County that seriously restrict the person’s liberty and that subject the person to arrest and jailing

if those conditions, as interpreted by the For-Profit Probation Defendants (including payment of

extra fees to the company) are violated.

        444.    The County has the ability to collect outstanding debts directly from the Plaintiffs

by allowing them to make payments directly to the court or by using other debt-collection practices

that are legal under Tennessee law.

        445.    This policy and practice of altering punishment based solely on wealth status

violates Due Process and Equal Protection.

                                             COUNT 14:

 Defendants Violate Equal Protection and Due Process by Placing and Keeping People on
    Supervised Probation Solely Because They Cannot Afford to Pay Court Debts and
                              Probation Supervision Fees

 Brought under 42 U.S.C. § 1983 by Named Plaintiff Indya Hilfort on behalf of herself and
      all others similarly situated against CPS and Giles County for equitable relief

        446.    Plaintiff incorporates by reference the allegations in paragraphs 1–445.

        447.    Defendants, under color of state law, caused Plaintiff, a citizen of the United States,

to be deprived of rights, privileges, and immunities secured by the United States Constitution and




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the laws of the United States, without due process of law. Plaintiff brings this claim pursuant to

42 U.S.C. § 1983 and Monell v. Department of Social Services, 436 U.S. 658 (1978).

        448.    Giles County and the Private Defendants have a policy and practice of placing and

keeping individuals on supervised probation with the CPS Defendants solely because they cannot

afford to pay their court debts and probation fees, without an inquiry to determine whether the

failure to pay was willful. If a probationer can afford to pay her court debts in full, she will not be

subjected to supervised probation by the private companies (sometimes, Defendants permit a

probationer to purchase her way off of supervised probation only after a minimum period of time,

typically four months, on supervised probation has passed). If the person is too poor to pay, the

County and the Private Defendants have a policy and practice of keeping that person on supervised

probation, including forcing the person to abide by conditions agreed upon by the companies and

the County that seriously restrict the person’s liberty and that subject the person to arrest and jailing

if those conditions, as interpreted by the For-Profit Probation Defendants (including payment of

extra fees to the company) are violated.

        449.    The County has the ability to collect outstanding debts directly from the Plaintiff

by allowing her to make payments directly to the court or by using other debt-collection practices

that are legal under Tennessee law.

        450.    This policy and practice of altering punishment based solely on wealth status

violates Due Process and Equal Protection.

                                             COUNT 15:

 Defendants Violate Plaintiffs’ Equal Protection and Due Process Rights By Jailing Them
               Solely Because They Cannot Afford A Monetary Payment

   Brought by Named Plaintiff Indya Hilfort on behalf of herself and all others similarly
  situated under 42 U.S.C. § 1983 against the County and the Sheriff for equitable relief

        451.    Plaintiff incorporates by reference the allegations in paragraphs 1–452 above.


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       452.    The Fourteenth Amendment’s Due Process and Equal Protection clauses have

long prohibited keeping a person in jail because of the person’s inability to make a monetary

payment.

       453.    Defendants have a policy and practice of violating probationers’ substantive right

against wealth-based detention by enforcing secured financial conditions of release that are pre-

printed on violation-of-probation arrest warrants and that are determined without an inquiry into

or findings concerning ability to pay, without any pre-deprivation process, assessment of

alternatives to detention, inquiry into whether the Plaintiffs pose a danger to the community or a

risk of flight, or any findings regarding the need for detention in light of any particular

government interest. Because the monetary amounts are predetermined without reference to the

person’s ability to pay, they operate to detain only those indigent misdemeanor-probationer

arrestees who cannot afford them, but without any findings that pre-revocation, wealth-based

detention is necessary to meet a compelling government interest. If the Plaintiff could pay the

monetary amount, she would be released immediately.

       454.    These violation-of-probation warrants are routinely issued for the arrest of

indigent misdemeanor probationers who, like Named Plaintiff Indya Hilfort, are supervised on

probation only because they cannot afford to pay in full their court costs and probation fees.

                                            COUNT 16:

                                        Unjust Enrichment

  Brought by Named Plaintiffs Karen McNeil and Lesley Johnson on behalf of themselves
               and all others similarly situated against CPS for damages

       455.    Plaintiff incorporates by reference the allegations in paragraphs 1–454.

       456.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,



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and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       457.    CPS Defendants took and converted to their own use monetary payments from

Plaintiffs and proposed Class Members.        Defendants extracted those funds in violation of

Plaintiffs’ federal and state constitutional rights to due process of law and equal protection of the

laws. Defendants had no legal right to Plaintiffs’ money and took these funds in violation of state

law as related above. Under the circumstances presented here, Defendants’ retention of Plaintiffs’

money would result in unjust enrichment.

                                           COUNT 17:

                                       Unjust Enrichment

Brought by Named Plaintiffs Lucinda Brandon, Victor Gray, and Tanya Mitchell (through
her estate) on behalf of themselves and all others similarly situated against PSI for damages

       458.    Plaintiffs incorporate by reference the allegations in paragraphs 1–457.

       459.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       460.    PSI Defendants took and converted to their own use monetary payments from

Plaintiffs and proposed Class Members.        Defendants extracted those funds in violation of

Plaintiffs’ federal and state constitutional rights to due process of law and equal protection of the

laws. Defendants had no legal right to Plaintiffs’ money and took these funds in violation of state

law as related above. Under the circumstances presented here, Defendants’ retention of Plaintiffs’

money would result in unjust enrichment.




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                                           COUNT 18:

                                       Unjust Enrichment

   Brought by Named Plaintiff Victor Gray on behalf of himself and all others similarly
                       situated against PSI for equitable relief

       461.    Plaintiff incorporates by reference the allegations in paragraphs 1–460.

       462.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       463.    PSI Defendants took and converted to their own use monetary payments from

Plaintiff and proposed Class Members. Defendants extracted those funds in violation of Plaintiff’s

federal and state constitutional rights to due process of law and equal protection of the laws.

Defendants had no legal right to Plaintiff’s money and took these funds in violation of state law as

related above. Under the circumstances presented here, Defendants’ retention of Plaintiff’s money

would result in unjust enrichment.

                                           COUNT 19:

                                        Abuse of Process

 Brought by Named Plaintiffs Karen McNeil, Lesley Johnson, and Indya Hilfort on behalf
of themselves and all others similarly situated against Giles County, and CPS, for damages

       464.    Plaintiffs incorporate by reference the allegations in paragraphs 1–463.

       465.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.




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       466.    Defendants abused the legal process to seek arrest warrants and probation

revocation judgments with an ulterior motive to collect additional “supervision” and “drug testing”

fees. See Bell ex rel. Snyder v. Icard, Merrill, Cullis, Timm, Furen & Ginsburg, P.A., 986 S.W.2d

550, 555 (Tenn. 1999).

       467.    When probationers are unable to pay what CPS demands, the company files

revocation petitions and secures arrest warrants. Moreover, CPS participates through written

documents, testimony, and informal ex parte conversations with Giles County prosecutors and

judges to secure violation-of-probation judgments. The company refuses to convert a person’s

supervised probation to unsupervised probation unless she has paid all of her debts.

       468.    The company seeks violation-of-probation citation or arrest warrants for

nonpayment even when it knows that the person did not pay because they were too poor to pay.

The company and the County use these warrants as a way to extort additional money from

impoverished probationers who are scared of being arrested and jailed.

       469.    The company and the County engage in all of these activities, and threaten

probationers with arrest, jailing, and revocation if they do not make payments, with the ulterior

motive of securing the additional court costs and fees that come as a matter of County policy and

practice with each revocation violation.

       470.    The company also engages in an abuse of process throughout its probation

supervision by using the order of probation not to do justice and assist probationers, but for the

ulterior motive of making profit by setting fees, performing drug tests, and threatening to seek

violation-of-probation warrants to extort money.




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                                          COUNT 20:

                                        Abuse of Process

    Brought by Named Plaintiff Indya Hilfort on behalf of herself and all others similar
         situated against Giles, CPS, and Defendant McNair for equitable relief

       471.    Plaintiff incorporates by reference the allegations in paragraphs 1–470.

       472.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       473.    Defendants abused the legal process to seek arrest warrants and probation

revocation judgments with an ulterior motive to collect additional “supervision” and “drug testing”

fees. See Bell ex rel. Snyder v. Icard, Merrill, Cullis, Timm, Furen & Ginsburg, P.A., 986 S.W.2d

550, 555 (Tenn. 1999).

       474.    When probationers are unable to pay what CPS demands, the company files

revocation petitions and secures arrest warrants. Moreover, CPS participates through written

documents, testimony, and informal ex parte conversations with Giles County prosecutors and

judges to secure violation-of-probation judgments. The company refuses to convert a person’s

supervised probation to unsupervised probation unless she has paid all of her debts.

       475.    The company seeks violation-of-probation citation or arrest warrants for

nonpayment even when it knows that the person did not pay because they were too poor to pay.

The company and the County use these warrants as a way to extort additional money from

impoverished probationers who are scared of being arrested and jailed.

       476.    The company and the County engage in all of these activities, and threaten

probationers with arrest, jailing, and revocation if they do not make payments, with the ulterior



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motive of securing the additional court costs and fees that come as a matter of County policy and

practice with each revocation violation.

       477.    The company also engages in an abuse of process throughout its probation

supervision by using the order of probation not to do justice and assist probationers, but for the

ulterior motive of making profit by setting fees, performing drug tests, and threatening to seek

violation-of-probation warrants to extort money.

                                             COUNT 21:

                                           Abuse of Process

Brought by Named Plaintiffs Lucinda Brandon, Victor Gray, and Tanya Mitchell (through
 her estate) on behalf of themselves and all others similarly situated against Giles County,
                 PSI, and Defendants Bledsoe and Thompson for damages

       478.    Plaintiffs incorporate by reference the allegations in paragraphs 1–477.

       479.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       480.    Defendants abused the legal process to seek arrest warrants and probation

revocation judgments with an ulterior motive to collect additional “supervision” and “drug testing”

fees. See Bell ex rel. Snyder v. Icard, Merrill, Cullis, Timm, Furen & Ginsburg, P.A., 986 S.W.2d

550, 555 (Tenn. 1999).

       481.    When probationers are unable to pay what PSI demands, the company files

revocation petitions and secures arrest warrants. Moreover, PSI participates through written

documents, testimony, and informal ex parte conversations with Giles County prosecutors and

judges to secure violation-of-probation judgments. The company refuses to convert a person’s

supervised probation to unsupervised probation unless she has paid all of her debts.


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       482.    The company seeks violation-of-probation citation or arrest warrants for

nonpayment even when it knows that the person did not pay because they were too poor to pay.

The company and the County use these warrants as a way to extort additional money from

impoverished probationers who are scared of being arrested and jailed.

       483.    The company and the County engage in all of these activities, and threaten

probationers with arrest, jailing, and revocation if they do not make payments, with the ulterior

motive of securing the additional court costs and fees that come as a matter of County policy and

practice with each revocation violation.

       484.    The company also engages in an abuse of process throughout its probation

supervision by using the order of probation not to do justice and assist probationers, but for the

ulterior motive of making profit by setting fees, performing drug tests, and threatening to seek

violation-of-probation warrants to extort money.

                                             COUNT 22:

                                           Abuse of Process

   Brought by Named Plaintiff Victor Gray on behalf of himself and all others similarly
      situated against Giles County, PSI, and Defendant Bledsoe, for equitable relief

       485.    Plaintiff incorporates by reference the allegations in paragraphs 1–484.

       486.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       487.    Defendants abused the legal process to seek arrest warrants and probation

revocation judgments with an ulterior motive to collect additional “supervision” and “drug testing”




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fees. See Bell ex rel. Snyder v. Icard, Merrill, Cullis, Timm, Furen & Ginsburg, P.A., 986 S.W.2d

550, 555 (Tenn. 1999).

       488.    When probationers are unable to pay what PSI demands, the company files

revocation petitions and secures arrest warrants. Moreover, PSI participates through written

documents, testimony, and informal ex parte conversations with Giles County prosecutors and

judges to secure violation-of-probation judgments. The company refuses to convert a person’s

supervised probation to unsupervised probation unless she has paid all of her debts.

       489.    The company seeks violation-of-probation citation or arrest warrants for

nonpayment even when they know that the person did not pay because they were too poor to pay.

The company and the County use these warrants as a way to extort additional money from

impoverished probationers who are scared of being arrested and jailed.

       490.    The company and the County engage in all of these activities, and threaten

probationers with arrest, jailing, and revocation if they do not make payments, with the ulterior

motive of securing the additional court costs and fees that come as a matter of County policy and

practice with each revocation violation.

       491.    The company also engages in an abuse of process throughout its probation

supervision by using the order of probation not to do justice and assist probationers, but for the

ulterior motive of making profit by setting fees, performing drug tests, and threatening to seek

violation-of-probation warrants to extort money.




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                                            COUNT 23:

                                          Civil Conspiracy

Brought by Named Plaintiffs Lucinda Brandon, Victor Gray, and Tanya Mitchell (through
  her estate) on behalf of themselves and all others similarly situated against Defendants
 Progressive Sentencing, Inc., PSI-Probation II, LLC, PSI-Probation, L.L.C., Tennessee
               Correctional Services, LLC, and Timothy Cook for damages

       492.    Plaintiffs incorporate by reference the allegations in paragraphs 1–491.

       493.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       494.    Defendants Progressive Sentencing, Inc., PSI-Probation II, LLC, PSI-Probation,

L.L.C., Tennessee Correctional Services, LLC, and Timothy Cook acted in concert to accomplish

the common and unlawful purposes of:

               a.      Acting under color of state law to deprive Plaintiffs and other probationers

of the rights, privileges, and immunities secured by the United States Constitution and the laws of

the United States without due process of law by:

                              i.      Placing private, non-neutral actors with direct pecuniary

interests in the outcome of probationers’ cases in a position to dictate the outcome of those cases;

                              ii.     Using imprisonment, threats of imprisonment, onerous

probation conditions, revoked or withheld drivers’ licenses, intrusive drug tests, extra fees, and

other restrictions on probationers’ liberty to collect debts owed to the County;

                              iii.    Placing and keeping individuals on supervised probation

solely because they cannot afford to pay their court debts and probation fees, without determining

whether the failure to pay was willful;



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                               iv.     Permitting non-neutral actors with direct pecuniary interests

in the drug testing of probationers to determine how many drug tests a probationer must endure

and pay for, and when the probationer must take those drug tests;

                               v.      Taking and converting to their own use monetary payments

from Plaintiffs and proposed class members to which Defendants had no legal right; and

                               vi.     Abusing the legal process to seek arrest warrants and

probation revocation judgments with an ulterior motive to collect additional “supervision” and

“drug testing” fees.

       495.    Defendants accomplished their common design via the unlawful means of

contracting with the County to allow non-neutral, financially-interested individuals to serve a

traditional government function, and extorting payments of court fines, costs, and various fees

from Plaintiffs and proposed Class Members using, inter alia imprisonment and threats of

imprisonment in violation of Tennessee and federal law.

       496.    The conspiracy had a common design, jointly and knowingly established by

Defendants acting through their agents and employees.

       497.    Defendants knew or should have known that Tennessee and federal law require

individual consideration of each Plaintiff or proposed Class Member’s ability to pay such court

fines, costs, and fees, that placing and keeping a person on supervised probation solely for

nonpayment of such civil debts violates Tennessee and federal law, and that Tennessee and federal

law provide Plaintiffs and proposed class members with the right to have their probation

supervised by a neutral officer of the court.

       498.    Defendants knew of each other’s common intent to contract with the County and

subject Plaintiffs and proposed Class Members to onerous conditions of probation in violation of




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Tennessee and federal law. Defendants also knew that their wrongful actions would inflict injury

upon the targets of the conspiracy, including Plaintiffs Tanya Mitchell and Lucinda Brandon.

       499.    The conspiracy among Defendants was a proximate and legal cause of harm to

Plaintiffs and proposed class members. If Defendants had abided by the laws requiring probation

officers to be free of financial conflicts of interest and prohibiting the use of supervised probation,

arrest, and jailing to coerce payment from indigent individuals, Plaintiffs and proposed class

members would not have suffered the unlawful deprivations of liberty and property described

herein. Accordingly, Plaintiffs are entitled to recover their actual damages, plus costs, attorneys’

fees, and pre-judgment interest and post-judgment interest.

                                            COUNT 24:

                                         Civil Conspiracy

 Brought by Named Plaintiffs Karen McNeil, Lesley Johnson, and Indya Hilfort on behalf
 of themselves and all others similarly situated against Defendants Community Probation
Services, LLC, Community Probation Services, L.L.C., and Community Probation Services

       500.    Plaintiffs incorporate by reference the allegations in paragraphs 1–499.

       501.    Private Defendants, although acting under color of state law as defined by 42 U.S.C.

§ 1983, are not employees of a government entity as defined by Tenn. Code Ann. § 29-20-107,

and therefore they are not entitled to state governmental immunity under the Tennessee

Governmental Torts Liability Act, Tenn. Code Ann. § 29-20-101 et seq.

       502.    Defendants Community Probation Services, LLC, Community Probation Services,

L.L.C., and Community Probation services acted in concert to accomplish the common and

unlawful purposes of:

               a.       Acting under color of state law to deprive Plaintiffs and other probationers

of the rights, privileges, and immunities secured by the United States Constitution and the laws of

the United States without due process of law by:


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                              i.      Placing private, non-neutral actors with direct pecuniary

interests in the outcome of probationers’ cases in a position to dictate the outcome of those cases;

                              ii.     Using imprisonment, threats of imprisonment, onerous

probation conditions, revoked or withheld drivers’ licenses, intrusive drug tests, extra fees, and

other restrictions on probationers’ liberty to collect debts owed to the County;

                              iii.    Placing and keeping individuals on supervised probation

solely because they cannot afford to pay their court debts and probation fees, without determining

whether the failure to pay was willful;

                              iv.     Permitting non-neutral actors with direct pecuniary interests

in the drug testing of probationers to determine how many drug tests a probationer must endure

and pay for, and when the probationer must take those drug tests;

                              v.      Taking and converting to their own use monetary payments

from Plaintiffs and proposed class members to which Defendants had no legal right; and

                              vi.     Abusing the legal process to seek arrest warrants and

probation revocation judgments with an ulterior motive to collect additional “supervision” and

“drug testing” fees.

       503.    Defendants accomplished their common design via the unlawful means of

contracting with the County to allow non-neutral, financially-interested individuals to serve a

traditional government function, and extorting payments of court fines, costs, and various fees

from Plaintiffs and proposed Class Members using, inter alia imprisonment and threats of

imprisonment in violation of Tennessee and federal law.

       504.    The conspiracy had a common design, jointly and knowingly established by

Defendants acting through their agents and employees.




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       505.    Defendants knew or should have known that Tennessee and federal law require

individual consideration of each Plaintiff or proposed Class Member’s ability to pay such court

fines, costs, and fees, that placing and keeping a person on supervised probation solely for

nonpayment of such civil debts violates Tennessee and federal law, and that Tennessee and federal

law provide Plaintiffs and proposed class members with the right to have their probation

supervised by a neutral officer of the court.

       506.    Defendants knew of each other’s common intent to contract with the County and

subject Plaintiffs and proposed Class Members to onerous conditions of probation in violation of

Tennessee and federal law. Defendants also knew that their wrongful actions would inflict injury

upon the targets of the conspiracy, including Plaintiffs Tanya Mitchell, Victor Gray, and Lucinda

Brandon.

       507.    The conspiracy among Defendants was a proximate and legal cause of harm to

Plaintiffs and proposed class members. If Defendants had abided by the laws requiring probation

officers to be free of financial conflicts of interest and prohibiting the use of supervised probation,

arrest, and jailing to coerce payment from indigent individuals, Plaintiffs and proposed class

members would not have suffered the unlawful deprivations of liberty and property described

herein. Accordingly, Plaintiffs are entitled to recover their actual damages, plus costs, attorneys’

fees, and pre-judgment interest and post-judgment interest.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs request that this Court issue the following relief:

       A.      An order certifying the classes described above;

       B.      A declaratory judgment that subjecting the Plaintiffs to Defendants’ conduct as

alleged in the Counts listed above is unlawful;

       C.      An order and judgment permanently enjoining the Defendants from enforcing the


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above-described unconstitutional and illegal policies and practices against the Plaintiffs and the

injunctive class of similarly situated people;

       C.      A declaratory judgment that the contracts at issue are void;

       D.      A judgment compensating the Plaintiffs and the class of similarly situated people

they represent for the damages they suffered as a result of the Defendants’ unconstitutional and

unlawful conduct;

       E.      A judgment granting the treble and punitive damages authorized by statute based

on the Defendants’ willful and egregious violations of the law;

       F.      An order and judgment granting reasonable attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and 18 U.S.C. § 1964, and any other relief this Court deems just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs demand a trial by jury on all claims so triable.




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Dated: March 23, 2021                     Respectfully Submitted,

s/ Elizabeth Rossi
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Laura Gaztambide Arandes (pro hac vice)   Chirag G. Badlani (pro hac vice)
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